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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 GANNETT SATELLITE
 INFORMATION NETWORK,                              Case No. 22-cv-475 (BAH)

       Plaintiff,

       v.

 U.S. DEPARTMENT OF JUSTICE,

       Defendant.


                             DECLARATION OF GINA BARTON

       1.      My name is Gina Barton.

       2.      I am over the age of 18 and competent to provide this declaration.

       3.      The following statements are made on my personal and professional knowledge,

and, if sworn as a witness, I can testify competently thereto.

       4.      I am an investigative reporter at USA TODAY, which is owned by Plaintiff Gannett

Satellite Information Network. Throughout my career, I have been honored with many national

journalism awards, including: the Robert F. Kennedy Criminal Justice Reform Prize, the Hillman

Prize for Journalism, a National Edward R. Murrow Award, the George Polk Award, the Pulliam

First Amendment Award, the John Jay College award for criminal justice reporting, the Al

Nakkula Award for police reporting, the Casey Medal for reporting on children and families, an

Investigative Reporters and Editors certificate, and a Heywood Broun Award, among others. I also

was a recipient of the Ochberg Fellowship in Journalism and Trauma, where I learned to use my

reporting to promote healing for people who have lived through traumatic events.
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       5.      I hold a bachelor’s degree in journalism and a master’s degree in liberal studies

with a concentration in criminal justice. I have worked in journalism for 30 years, reporting

throughout the United States and in post-war Rwanda and Bosnia. I spent 15 years as the criminal

justice investigative reporter at the Milwaukee Journal Sentinel, where I exclusively covered issues

related to crime, policing and incarceration. The impact of my reporting included a first-of-its-kind

state law requiring outside investigation of deaths in police custody, the revision of a medical

examiner’s report that changed the manner of an in-custody death from natural to homicide and

the indictment of a police officer for an on-duty rape. I have continued to specialize in investigative

reporting since being hired by USA TODAY three years ago.

       6.      Throughout my 30-year-career, I have contacted dozens of people whose loved

ones died in jails and prisons. When I contacted them, I had no reason to believe that they would

be more likely than the average person who has lost a loved one to speak with me. None of them

complained that I was invading their privacy. Each of them was eager to speak with me about their

loved ones’ deaths. They all wanted the public to know the truth about what happened. They

welcomed my help in accessing and publishing information about their loved ones’ deaths,

including their loved ones’ names and age, cause of death, and what crimes they had been

convicted of. They all hoped my reporting would help hold accountable those responsible for the

deaths, and in many cases, it did.

       7.      For example, I reported on the death of Jeremy Cunningham, discussed in more

detail in Cynthia Telford’s declaration. Ms. Telford gave an on-the-record interview, which was

featured        in        my         story        on         Mr.         Cunningham’s           death,

https://www.jsonline.com/story/archives/2021/08/23/deaths-detention-inadequate-treatment-

leads-death-sick-prisoners-milwaukee/1291637001/.



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       8.      BJS related that it used an algorithm, k-anonymity, to redact records so that no

inmate could be personally identified. It chose the fields to redact apparently because that

information could be used in conjunction with other information, like state or local press releases

and news articles, to identify an inmate. However, based on my experience as an investigative

reporter, I believe this argument to be illogical. That is because a person equipped with a press

release or news article will already know the information BJS is redacting, since state and local

press releases and news articles often contain much or all of that information.

               a. A true and correct copy an Alabama Department of Corrections press release

                   regarding an inmate death is attached as Exhibit 1 and located at the following

                   link:

                   https://doc.alabama.gov/NewsRelease?article=ADOC+Investigates+Inmate%

                   E2%80%99s+Death+at+Bullock+County+Correctional+Facility.

               b. True and correct copies of Alaska Department of Corrections press releases

                   regarding an inmate death are attached as Exhibit 2 and located at the following

                   links:      https://doc.alaska.gov/commish/pressreleases/Cook%2042323.pdf;

                   https://dailydispatch.dps.alaska.gov/Home/Search?start=2023-04-

                   24&end=2023-04-24&userText=.

               c. A true and correct copy of an Arizona Department of Corrections Rehabilitation

                   & Reentry press release regarding an inmate death is attached as Exhibit 3 and

                   located at the following link: tps://corrections.az.gov/news/death-notification-

                   james-walker.




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      d. A true and correct excerpt of an Arkansas Department of Corrections press

         release regarding an inmate death is attached as Exhibit 4 and located at the

         following link. https://doc.arkansas.gov/media-advisories/.

      e. A true and correct copy of a California Department of Corrections and

         Rehabilitation press release regarding an inmate death is attached as Exhibit 5

         and          located          at           the        following              link:

         https://www.cdcr.ca.gov/news/2023/10/16/soledad-valley-state-prison-

         investigating-death-of-incarcerated-person-as-homicide/.

      f. True and correct copies of Larimer County, Colorado press releases regarding

         an inmate death are attached as Exhibit 6 and located at the following links.

         https://www.larimer.gov/spotlights/2023/12/11/update-inmate-jail-death-

         11252023;        https://www.larimer.gov/spotlights/2023/11/25/cirt-activated-

         inmate-death.

      g. A true and correct copy of a State of Connecticut Department of Correction

         press release regarding an inmate death is attached as Exhibit 7 and located at

         the          following             link:                   https://portal.ct.gov/-

         /media/DOC/Pdf/PressRelease/pr20160125.pdf.

      h. A true and correct copy of a Delaware Department of Correction press release

         regarding an inmate death is attached as Exhibit 8 and located at the following

         link: https://doc.delaware.gov/assets/documents/newsroom/2024/24press0122-

         1.pdf.

      i. A true and correct copy of a Hillsborough County, Florida press release

         regarding an inmate death is attached as Exhibit 9 and located at the following



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         link:    https://teamhcso.com/News/PressRelease/37d632da-2b85-4a24-bab3-

         e73f82bfbf42/en-US.

      j. A true and correct copy of a Fulton County, Georgia Sheriff’s Office press

         release regarding an inmate death is attached as Exhibit 10 and located at the

         following link: https://fcsoga.org/wp-content/uploads/2023/09/FCSO-News-

         Release-Fulton-County-Jail-Stabbings-Lead-to-One-Inmate-Death-9.1.23.pdf.

      k. A true and correct copy of an article reporting on a Hilo Community

         Correctional Center in Honolulu, Hawaii inmate death is attached as Exhibit 11

         and           located          at           the        following           link:

         https://www.hawaiinewsnow.com/2024/01/09/corrections-head-screenings-x-

         rays-failed-prevent-fatal-jail-overdose/.

      l. A true and correct copy of an article reporting on an Idaho State Correctional

         Center inmate death is attached as Exhibit 12 and located at the following link:

         https://www.ktvb.com/article/news/investigations/7-investigates/family-idaho-

         inmate-killed-prison-demands-answers-reform/277-9c890035-7430-449c-

         b032-358863dd63f2.

      m. A true and correct copy of an article reporting on a Cook County, Illinois Jail

         inmate death is attached as Exhibit 13 and located at the following link.

         https://cwbchicago.com/2023/03/another-jail-inmate-dies-the-second-in-two-

         days-but-cases-are-unrelated-and-no-foul-play-in-latest-death-officials-

         say.html.

      n. A true and correct copy of an article reporting on the death of an Adult

         Detention Center in Indianapolis, Indiana inmate death is attached as Exhibit



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         14 and located at the following link:             https://fox59.com/news/police-

         investigating-death-of-marion-county-inmate/.

      o. A true and correct copy of an article reporting on a Linn County, Iowa Jail

         inmate death is attached as Exhibit 15 and located at the following link.

         https://www.thegazette.com/crime-courts/cedar-rapids-woman-who-died-at-

         linn-county-jail-identified-by-sheriffs-office/

      p. A true and correct copy of a Kansas Bureau of Investigation press release

         regarding an inmate death is attached as Exhibit 16 and located at the following

         link:

         https://www.kansas.gov/kbi/docs/media%20releases/2023/Media%20Release

         %20-

         %20Inmate%20death%20at%20Lansing%20Correctional%20Facility%20rule

         d%20homicide.pdf.

      q. A true and correct copy of an article reporting on a Whitley County, Kentucky

         Detention Center inmate death is attached as Exhibit 17 and located at the

         following link:      https://www.thetimestribune.com/kentucky/wcdc-inmates-

         death-under-investigation/article_eae979e4-6171-11ee-9574-

         536ecfc16eb0.html.

      r. A true and correct copy of an article reporting on a Louisiana State Penitentiary

         inmate death is attached as Exhibit 18 and located at the following link:

         https://www.theadvocate.com/baton_rouge/news/angola-inmate-dies-in-

         forklift-accident/article_88aa84a4-abf4-11ed-bb68-f37c9cc49e2d.html.




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      s. A true and correct copy of an article reporting on the death of an Aroostook

         County, Maine Jail inmate is attached as Exhibit 19 and located at the following

         link:   https://www.mainepublic.org/maine/2014-09-09/update-maine-inmate-

         death-ruled-suicide.

      t. A true and correct copy of a press release from the Maryland State Police

         regarding an inmate death is attached as Exhibit 20 and located at the following

         link:             https://news.maryland.gov/msp/2023/05/28/state-prison-inmate-

         homicide-under-investigation/.

      u. A true and correct copy of an article reporting on an inmate death at the Suffolk

         County, Massachusetts House of Corrections is attached as Exhibit 21 and

         located at the following link: https://www.cbsnews.com/boston/news/suffolk-

         county-house-of-corrections-inmate-death/.

      v. A true and correct copy of the opening lines of an article reporting on an inmate

         death at the Alger Correctional Facility in Alger County, Michigan is attached

         as      Exhibit       22    and     located     at    the    following      link.

         https://www.fox2detroit.com/news/family-of-man-who-died-of-dehydration-

         in-michigan-prison-say-fight-for-justice-not-over.

      w. A true and correct copy of an article reporting on a Northwest Regional

         Correctional Center, Minnesota inmate is attached as Exhibit 23 and located at

         the                                 following                               link:

         https://www.brainerddispatch.com/news/minnesota/northwest-regional-

         correction-center-inmate-death-determined-to-be-suicide.




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      x. A true and correct copy of a Mississippi Department of Corrections press

         release regarding an inmate death is attached as Exhibit 24 and located at the

         following                                                                   link.

         https://www.mdoc.ms.gov/sites/default/files/News_Articles/090823_MDOC

         %20inmate%20death%20follow%20up.pdf

      y. A true and correct copy of an article reporting on an Algoa Correctional Center,

         Missouri inmate death is attached as Exhibit 25 and located at the following

         link:       https://krcgtv.com/news/local/department-of-corrections-said-algoa-

         inmate-died-thursday-morning.

      z. A true and correct copy of a news article reporting on Montana Department of

         Corrections deaths is attached as Exhibit 26 and located at the following link:

         https://helenair.com/news/state-regional/crime-courts/montana-state-prison-

         inmate-death-undetermined/article_42bd3640-42c5-11ee-b268-

         874623e28187.html.

      aa. A true and correct copy of a Nebraska Department of Correctional Services

         press release regarding an inmate death is attached as Exhibit 27 and located at

         the following link: https://corrections.nebraska.gov/rtc-inmate-death-16.

      bb. A true and correct copy of a Nevada Department of Corrections press release

         regarding an inmate death is attached as Exhibit 28 and located at the following

         link:

         https://doc.nv.gov/uploadedFiles/docnvgov/content/About/Press_Release/Deat

         h%20Jacobson%2014241.pdf.




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      cc. A true and correct copy of a New Hampshire Department of Corrections press

         release regarding an inmate death is attached as Exhibit 29 and located at the

         following       link:   https://www.corrections.nh.gov/news-and-media/update-

         untimely-death-nh-state-prison-men-0.

      dd. A true and correct copy of an article reporting on an Atlantic County, New

         Jersey Justice Facility inmate death is attached as Exhibit 30 and located at the

         following link: https://www.nbcphiladelphia.com/news/local/prisoner-beats-

         another-inmate-to-death-inside-nj-jail-officials-say/3635266/.

      ee. A true and correct copy of an article reporting on a Southern New Mexico

         Correctional Facility inmate death is attached as Exhibit 31 and located at the

         following link: https://www.ktsm.com/news/inmate-who-died-at-southern-nm-

         prison-has-been-identified/.

      ff. A true and correct copy of an article reporting on a Rikers Island, New York

         inmate death is attached as Exhibit 32 and located at the following link:

         https://nypost.com/2022/05/08/rikers-island-inmate-with-mental-health-

         issues-dies-by-suicide/.

      gg. A true and correct copy of a North Carolina Department of Adult Correction

         press release regarding an inmate death is attached as Exhibit 33 and located at

         the      following         link:           https://www.dac.nc.gov/news/press-

         releases/2024/01/16/investigation-underway-after-offender-death-bertie-

         correctional.

      hh. A true and correct copy of an article reporting on the death of a North Dakota

         state prison inmate is attached as Exhibit 34 and located at the following link:



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         https://www.corrections1.com/in-custody-death/articles/officials-north-

         dakota-murderer-kills-himself-in-prison-9NTRs4K9wc4AHuKX/.

      ii. A true and correct copy of a Clermont County, Ohio Sheriff’s Office press

         release regarding an inmate death is attached as Exhibit 35 and located at the

         following link: https://clermontsheriff.org/14556-2/.

      jj. A true and correct copy of an article reporting on an Oklahoma County Jail

         inmate death is attached as Exhibit 36 and located at the following link:

         https://kfor.com/news/local/medical-examiner-oklahoma-county-inmate-died-

         of-fentanyl-overdose/.

      kk. A true and correct copy of an article reporting on a Deschutes, Oregon County

         Jail inmate death is attached as Exhibit 37 and located at the following link:

         https://www.kptv.com/2024/02/22/oregon-jail-faces-federal-lawsuit-after-22-

         year-old-inmate-dies-during-opioid-withdrawal/.

      ll. A true and correct copy of a Pennsylvania press release regarding an inmate

         death is attached as Exhibit 38 and located at the following link:

         https://www.media.pa.gov/Pages/corrections_details.aspx?newsid=645.

      mm.    A true and correct copy of an article reporting on the death of a Cranston,

         Rhode Island Adult Correctional Institution inmate is attached as Exhibit 39

         and located at the following link: https://www.abc6.com/vigil-and-rally-to-be-

         held-at-state-house-for-aci-inmates-death/.

      nn. A true and correct copy of an article reporting on the death of a Bamberg

         County, South Carolina Detention Center inmate is attached as Exhibit 40 and




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         located at the following link: https://www.wrdw.com/2024/01/25/i-team-how-

         did-inmate-waste-away-bamberg-county/.

      oo. A true and correct copy of a South Dakota press release regarding an inmate

         death is attached as Exhibit 41 and located at the following link:

         https://news.sd.gov/news?id=news_kb_article_view&sysparm_article=KB002

         8446&sys_kb_id=1a879d881bd869506e4aa97ae54bcb7f&spa=1.

      pp. A true and correct copy of an article reporting on the deaths of Rutherford

         County, Tennessee Adult Detention Center inmates is attached as Exhibit 42

         and           located           at          the          following           link:

         https://www.dnj.com/story/news/2022/02/07/tennessee-bureau-investigation-

         examines-2-rutherford-county-inmate-deaths-adult-detention-

         center/6691429001/.

      qq. A true and correct copy of an article reporting on the death of a Gib Lewis Unit,

         Texas inmate is attached as Exhibit 43 and located at the following link:

         https://bluebonnetnews.com/2023/01/12/man-awaiting-murder-trial-in-liberty-

         county-killed-in-prison/.

      rr. A true and correct copy of an article reporting on a Central Utah Correctional

         Facility inmate death is attached as Exhibit 44 and located at the following link:

         https://www.sltrib.com/news/2022/08/29/utah-prison-officials-believe-an/.

      ss. A true and correct copy of an article reporting on a Vermont Southern State

         Correctional Facility inmate death is attached as Exhibit 45 and located at the

         following       link:       https://www.vermontpublic.org/local-news/2023-11-

         06/vermont-state-police-are-investigating-the-12th-prison-death-this-year.



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               tt. A true and correct copy of a Prince County, Virginia press release regarding an

                  inmate death is attached as Exhibit 46 and located at the following link:

                  https://www.princegeorgecountyva.gov/news_detail_T6_R2317.php .

               uu. A true and correct copy of an article reporting on a Washington State

                  Penitentiary inmate death is attached as Exhibit 47 and located at the following

                  link:       https://www.seattletimes.com/seattle-news/law-justice/investigation-

                  finds-more-deadly-delays-in-cancer-diagnosis-and-treatment-at-washington-

                  state-prisons/.

               vv. A true and correct copy of an article reporting on a Southern Regional Jail, West

                  Virginia inmate death is attached as Exhibit 48 and located at the following

                  link:     https://www.wvnstv.com/news/local-news/new-allegations-emerge-on-

                  quantez-burks-death-at-southern-regional-jail/.

               ww.      A true and correct copy of an article reporting on the death of a Milwaukee,

                  Wisconsin Secure Detention Facility inmate is attached as Exhibit 49 and

                  located               at                the           following              link:

                  https://www.jsonline.com/story/archives/2021/08/23/deaths-detention-

                  inadequate-treatment-leads-death-sick-prisoners-milwaukee/1291637001/.

               xx. A true and correct copy of an article reporting on the death of a Wyoming

                  Medium Correctional Institution inmate is attached as Exhibit 50 and located at

                  the      following     link:     https://www.sweetwaternow.com/inmate-dies-in-

                  torrington-correctional-facility/.

       9.      In addition to press releases, some states publish much of the very data the Bureau

of Justice Statistics has withheld here. For example:



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      a. Florida has an online inmate directory that lists many facts about deceased

         inmates,       including     their    cause    and      manner      of       death.

         https://fdc.myflorida.com/pub/mortality/2023-2024.html

      b. Illinois has released a dataset of inmate deaths, downloadable here,

         https://icjia.illinois.gov/researchhub/datasets/death-in-custody-reports/,     that

         reproduces nearly all the data that the Bureau of Justice Statistics has redacted

         (albeit without names), apparently without applying any redaction technique

         like k-anonymity. It has also released a dataset of every inmate discharged that

         indicates discharges based on death. The 2021 database is downloadable here.

         https://idoc.illinois.gov/content/dam/soi/en/web/idoc/reportsandstatistics/docu

         ments/fy21-prison-exits.xls

      c. A nonprofit, Incarceration Transparency, has created a database of inmate

         deaths in Louisiana and South Carolina. The Louisiana database appears to

         link, in the “Documentation” column, to reporting forms submitted by states

         and localities to BJS under the MCI Program and is available here:

         https://www.incarcerationtransparency.org/la-prison-and-jail-deaths-all-

         parish-data/. The South Carolina “Documentation” column links to various

         forms, including some provided by state and local agencies, and is available

         here:      https://www.incarcerationtransparency.org/south-carolina-prison-and-

         jail-deaths-all-counties/.

      d. The Missouri Justice Coalition filed Missouri public records requests and

         compiled a database of deaths occurring in Missouri correctional facilities,

         available                                                                     here:



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                       https://docs.google.com/spreadsheets/d/16224YPhar5jPCloBPIFIRXeP-

                       0uaV6O6OoZNkYJyDvY/edit#gid=O.

                  e. The Montana Department of Corrections posts a list of each deceased inmate

                       and their date and location of death. It further provides that cause of death may

                       be obtained from the death certificate, "which are public records" under

                       Montana       law.                                    .                                 I}


                                                     The      database       lS    available      here:

                       https ://cor. mt.gov/DataStatsContractsPoli ci esProcedures/DataPages/Deathsln

                       Custody.

                  f.   The Texas Attorney General's Office hosts a "Custodial Death Report"

                       database. The main database lists the decedent's name and date of death.

                       Clicking on the decedent's name then reveals substantial information about the

                       decedent and their cause of death.          The database is available here:

                       ·https://oag.my.site.com/cdr/cdrreportdeaths.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

     and correct. Executed on April J i 2024.
                                                                                                           l

                                                                         Gina Barton




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                               News        Employment -.     About ADOC...       Inmate Info-.     Links...     Contact Us...      ACIFA-.




             ~ Alabama Dept
             ~ of Corrections
                                                                                                                                                                         lltJlm

                                ADOC Investigates Inmate's Death at Bullock County Correctional Facility

       UNION SPR INGS, Ala. - Law enforcement agent s of the Alabama Department of Corrections Investigations and Intelligence Division are investigating the death of an inmate !hat occurred at the
       Bullock County Correctional Facility in Union Springs on October 6


       Al 11:40 p.m. inmate, Marcus Green, 34, of Birmingh am was pronounced dead by a physician in the health care unit


       During a routine check, a correctional officer found inmate Green lying in his bed on his back. and unresponsive
       Green was immediatety t aken to the health care unit wh ere life-saving measures were administered to no avail


       The cause of death is pending autopsy results as this is an ongoing investigation


       Inmate Green was serving a 20 -yea r sentence out of Jefferson County for Rape I


       ...
         Find Information...                               Search...                                          Alabama.Gov Links...                         Contact the ADOC

         Employment with ADOC                              Search Inmates                                     Alabama Directory                                      Alabama Department of
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         Community Corrections                             Search Executions                                  St atements I Policies                                 Mont gomery, Alabama 36130-
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                                                                                                                                                           151       webmaster@doc.alabama gov




                                                                                                                                                           II
                                                                                                              OpenAJabama gov                                         1-855-WE-R-AOOC
                                                                                                                                                                     (Toll Free Number)



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                                                                                                                                                                                         Exhibit 1
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                   Inmate Death: Mark Christopher Cook, Jr.
April 24, 2023 (Anchorage): On 4/23/2023, Mark Cook, 27, was pronounced dead at 1400.

Cook was most recently housed at Lemon Creek Correctional Center.

Cook was remanded to DOC on April 3, 2023 and was unsentenced charged with Assault 3,
Violate Conditions of Release, Petition to Revoke Probation (Assault 3).

There is currently an investigation pending by the Alaska State Troopers. The cause of death is
only determined by the State Medical Examiner. Due to privacy and security, Alaska DOC
cannot release confidential personal information, or medical information due to HIPAA
regulations.

                                              ###
Media Contact: Betsy Holley, 907-269-5037, betsy.holley@alaska.gov




                                                                                       Exhibit 2
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           ~ Alaska Department Of Public Safety,State Troopers                                         - --
           V        PUBLIC INFORMATION OFFICE                                                                    O OPS   h   ateofAlaska



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            Alaska State Troopers Press Re lease of
            Monday, Apri l 24, 2023
                                                                                                   User Links
            Any charges reported in these press releases are merely accusations and the
            defendants are presumed innocent unless and until proven guilty.
                                                                                                        Daily Dispatch Home
                                                                                                        Log In
            A Detachment
              AK23039354

              Location: Juneau
              Type: Inmate Death Investigation
              Dispatch Text :

              On April 22, 2023, at 4:42 pm, the Alaska State Troopers were notified that
              an adult male inmate at Lemon Creek Correctional Center was foun d
              unresponsive in his cell. Troopers responded to the scene, and a
              preliminary investigation revealed that Correctional Officers located 27-
              year-old Mark Cook hanging in his cell and immediately began life-saving
              efforts. EMS transported Cook co a Juneau area hospital for advanced
              medical treatment. Cook was declared deceased on April 23, 2023. Th ere
              is no evidence of foul play at this time; however, Troopers are conducting
              a thorough investigation into the death. Next of kin has been notified.
              Cook's body will be sent to the State Medical Examiner's Office for
              autopsy.



              Additional information can be found from the Alaska Department of
              Corrections at: https://doc.alaska.gov/commish/pressreleases/Cook
              42323.pdf

              Posted on 4/24/2023 10:02:1 s AM by DPS\ajm cdaniel



                View



              AK23039635

              Location: Seward
              Type: Domestic Violence
              Dispatch Text:

              On 04/23/2023, Troopers responded to the Bayview Trailer Park for a
              disturbance between a male and a female. Investigation revealed Michael
              Ramire2132, Sewa rd) assaulted his girlfriend. Michael was remanded at
              the Seward Jai1 w ithout bail for Assault 3rd Degree (felony), Assault 4th
              {misdemeanor) and Violating Conditions of Release.

              Posted on 4/24/2023 12:52:1 a AM by DPS\eloncay



                View


              AK23034537

              Locatio n: Seward
              Type: MICS 2, MIW 2, Removal Identification Marks
              Dispatch Text :

              On 04/22/2023 at approximately 1057 hours, Seward AST executed a
              search warrant on a residence in Seward with the assistance of US Forest
              Services and Seward Police. The investigation revealed DanielJ. Hickey, 41
              VOA of Seward, was in possession of suspected methamphetamine,
              heroin, and fentanyl with the intent to distribute. Additionally, the
              investigation revealed Daniel manufactured suspected
              methamphetamine, heroin, and fentanyl. Seward AST seized five firearms,
              $620 US currency, three !edgers, four digital scales, and packaging
              materials during the execution of the search warrant. Daniel was placed
              under arrest for four counts of m isconduct involving controlled
              substances (MICS) in the second degree (Class A Felonies), two counts of
              MICS in the third degree (Class B Felonies), five counts of misconduct
              involving weapons (MIW) in the second degree (Class B Felonies), and
              removal of identification mar ks (Class C Felony). Daniel was remanded to
              the Seward City Jail without bail. The investigation is ongoing.

              Posted on 4/24/2023 12:S4:10 AM by DPS\jlyavo~ky



                View



              AK23039652

              Locatio n: Seward
              Type: War rant Arrest, Hindering Prosecution, Misconduct Involving
              Controlled Substances
Case 1:22-cv-00475-BAH
              Dispatch Text:
                             Document 37-3 Filed 04/19/24 Page 18 of 121
              On 04/23/2023, Seward Troopers located and arrested Darren Lackey (37,
              Seward) for a felony arrest warrant at the Bayview Trailer Park. During the
              course of the investigation Jordan Hargreaves (27, Seward) rendered
              Darren assistance to hinder his apprehension. Jordan was a!so in
              possession of suspected methamphetamine and was remanded at the
              Seward Jail on the charges of Hindering Prosecution 1st Degree (felony),
              Misconduct Involving Controlled Substances 4th Degree (felony) and
              Violating Conditions of Release {misdemeanor).

              Posted on 4/24/2023 1:03:57 AM by OPS\etoncay



                View



             B Detachment
              AK23039623

              Location: Sutton
              Type: DUI/Refusal
              Dispatch Text:

              On 04/23/2023 at approximately 1733 hours, Alaska State Troopers
              stopped a Toyota pickup near mile 60 of the Glenn Highway after it nearly
              struck the trooper head on. Investigation revealed the driver, Thomas
              Wilson 111, age 41 of Sutton, was operating a motor vehicle whi le under the
              influence of alcohol. Wilson was arrested and transported to Palmer Post
              for processing. where he refused to submit to a chemical test. Wilson was
              charged with DUI and Refusal and remanded to Matsu Pretrial where he
              was held until sober and released on his own recognizance.

              Posted on 4/24/2023 9:04:08 AM by DPS\sanorman



                View



              AK23039124

              Location: Palmer
              Type: Death Investigation
              Dispatch Text:

              On 04/21/2023 at 2021 hours, Alaska State Troopers responded to the
              area of Hatcher Pass for the report of an entrapped skier. Investigation
              revealed William Snyder 35 YOA of Colorado was skiing in the area of Gold
              Cord trail and fell, sustaining life-threatening injuries. Life-saving
              measures were performed but ultimately were unsuccessful. Snyder's
              remains were able to be recovered from the mountain with the help of
              Sta te Park Rangers and Palmer Fire & Rescue. Next of Kin was notified.
              Alcohol did not appear to be a factor, and no signs of foul play suspected.

              "'This release updated to identify the name of the trail.

              Posted on 4/22/2023 5:28:39 AM by DPS\mdbarela _Ed,ted on 4124/2023 9:54:54 AM by
              DPS\ajmcdaniel



                View



             C Detachment
              AK23037293

              Location: Koyuk
              Type: Violate Conditions
              Dispatch Text:

              On 4/17/23 at approximately 09:47 hours, Alaska State Troopers arrested
              63 VOA Daniel Nassuk of Koyuk for Violating Conditions o f his Release.

              Posted on 4/24/2023 1Z:44:47 PM by OPS\11smith3



                View



              AK23037382

              Location: Koyuk
              Type: Violate Conditions
              Dispatch Text:

              On 4/17/23 at approximately 13:35 hours, 25 VOA William Hoogendorn of
              Koyuk was arrested for Violating Conditions of his Release.

              Posted on 4/24/2023 12:45:32 PM by DPS\tjsmith3



                View



              AK23037507

              Location: Unalakleet
              Type: Drugs
              Dispatch Text:

              On 4/l7/23 at approximately 18:08 hours, Alas ka State Troopers received
              a report of Drugs. Closed by investigation.

              Posted on 4/24/2023 12:46:14 PM by DPS\tjsmith3



                View



              AK23037566

              Location: Akutan
              Type: Assault - Non DV
              Dispatch Text:

              On 4/18/2023 at approximately 01 :35 hours, Alaska State Troopers
Case 1:22-cv-00475-BAH                        Document 37-3 Filed 04/19/24 Page 19 of 121
              received a report of an Assault - Non DV. Investigation resulted in 56 VOA
                 Richard Stepetin of Akutan being charged with Assault 4.

                 Posted on 4/24/2023 12:47:1 s PM by DPS\tjsmith 3



                   View



                 AK23037873

                 Location: Kodiak
                 Type: Violate Conditions
                 Dispatch Text:

                 On 4/18/23 at approximately 17:53 hours, Alas ka State Troopers arrested
                 45 VOA Sarrah Luna of Kodiak for Violating Conditions of her Release.

                 Posted on 4/2412023 12:48:08 PM by DPS\tjsmith 3



                   View



                 AK23038197

                 Location: Saint Michael
                 Type: Violate Conditions
                 Dispatch Text:

                 On 4/19/23 at approximately 15:54 hours, Alas ka State Troopers received
                 a report of a Disturbance. Investigation resulted in the arrest o 30 YOA
                 Ales Otten of Stebbins for Violating Conditions of his Release.

                 Posted on 4/24/2023 12:49:15 PM by DPS\tjsmith 3



                   View



                D Detachment
                 AK23039703

                 Location: Fairbanks
                 Type: DY-Assault 4th Degree
                 Dispatch Text:

                 On April 24,2023, at approximately 0223 hours, the Alaska State Troopers
                 in Fairbanks received a report of an assault at a residence near Lakeview
                 Terrace Road. Investigation revealed that Dylan Hailey 28 Y/O of Fairbanks,
                 assaulted a family member. Mr. Hailey was arrested and remanded to
                 Fairbanks Correctional Center on one count assault in the Fourth degree
                 for assaulting a family member.

                 Posted on 4/24/2023 7:18:16AM by DPS\gesommers



                   View



                 AK23039830

                 Location: Dot Lake
                 Type: Traffic Violation/ Failure to Stop at Direction of Peace Officer
                 Dispatch Text:

                 On 04/24/2023 at approximately 1120 hours, Alaska State Troopers were
                 patrolling in the area of Dot Lake. The driver of a maroon 1996 Chevy
                 pickup bearing AK plate LJL469 was driving without a seat belt . AST
                 initiated a traffic stop on the vehicle and the driver failed to stop at the
                 direction of a peace officer. The pursuit was discontinued due to public
                 safety concerns and the investigation is still ongoing.

                 Anyone with information about this crime can call the Alaska State
                 Troopers in Fairbanks at (907) 451-5100. If you would like to remain
                 anonymous you can submit tips through the AKTips smartphone app or
                 securely online at https:l!dps.alaska.gov/tips. You can also text the
                 keywork AKTips to 847411 followed by your anonymous tip.

                 Posted on 4/24/2023 10:51:46 PM by DPS\vaplotnikc,,,



                   View



                 AK23039994

                 Location: Tok
                 Type: Burg l / Vehicle Theft I
                 Dispatch Text:

                 On 04/24/2023 at approximately 151 4 hours, Alaska State Trooper
                 received a report of a burglary in the Tok area. Investigation revealed
                 multiple items missing from the residence including a red 1998 Ford Fl 50
                 bearing AK plate FLB938. Investigation is still ongoing.

                 Anyone with information about this crime can call the Alaska State
                 Troopers in Fairbanks at {907) 451-5100. If you would tike to remain
                 anonymous you can submit tips through the AKTips smartphone app or
                 securely online at https://dps.alaska.gov/tips. You can also text the
                 keywork AKTips to 847411 followed by your anonymous tip.

                 Posted on 4!24/2023 10:52:50 PM by DPS\vaplotnikov



                   View



                 AK23040011

                 Location: Fairbanks
                 Type: Disturbance
                 Dispatch Text:

                 On 04/24/2023 at approximately 1830 hours, Troope,s were dispatched to
                 3706 Swenson about a disturbance. Trooper's investigation determined
Case 1:22-cv-00475-BAH                     Document
              m ar a iuvenne assauirea Newman,                       37-3
                                               u11ver. In turn, Newman, u11ver Filed 04/19/24 Page 20 of 121
                      assaulted the j uvenile's dad, Leon Guer rero, Jerry. Charges will be
                      forwarded to DJJ and the District Attorney's office.

                      Posted on 4/24/2023 11 :16:24 PM by OPS\oamodestoOrdonez



                         View



                   E Detachment ... No news reported.
                   Headquarters ... No news reported.
                   AK Wildlife Troopers ... No news reported.
                   AK Bureau of Investigation
                      AK23038775

                      Location: Kodiak
                      Type: Misconduct lnvolving a Controlled Substance
                      Dispatch Text:

                      On 4/21/23, the Kodiak Statewide Drug Enforcement (SDEU) wit h the
                      assistance of the Kodiak Wildlife Troopers, Alaska State Troopers and
                      Coast Guard Investigative Service (CGIS), conducted an interdiction at the
                      Kodiak ferry terminal of a w ell-known individual suspected to be
                      trafficking controlled substances to Kodiak. The subsequent investigation
                      led to the detention of Mark Benton, 57 yoa of Kodiak.

                      During the contact, M. Benton attempted to flee on foot. M. Benton
                      was imm ediately pursued and made it a short distance before being
                      detained.

                      M. Benton was fou nd to be in possession of a distr ibutio n amount of blue
                      "M30" imprinted fentanyl pills, cocaine and methamphetamine.

                      M. Benton was r emanded to the Kodiak Jail for felony Miscond uct
                      Involving a Controlled Substance in the 2nd and 3rd Degree, along with
                      Violations of Conditions of Release.

                      The Kodiak Statewide Drug Enforcement Unit is made up of members
                      from the Alaska State Troopers, United Sta tes Coast Guard Investigative
                      Service and Kodiak Police Department.



                      Posted on 4/24/2023 8:39:41 AM by DPS\gjfrost



                         View



                   AK Bureau of Highway Patrol ... No news reported.
                   AK Bureau of Judicial Services ... No news reported.
                   AK Div of Fire and Life Safety ... No news reported.

                      Home




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                                                                                                             State of Alaska Department of Public Safety

                                                                                                                                  5700 ~ast Tudor Road
                                                                                                                                   Anchorage AK 99507
                  A~(,:_sill,llfty                                                                                                Phone (907)269 55 11



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Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 21 of 121




                                                                 Exhibit 3
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 22 of 121




                                                                 Exhibit 4
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 23 of 121
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 24 of 121
        0         Calif ornia Department of
                  Corrections and Rehabilitation
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 About v          Family & Friends v         Population v           Victims v         Careers v


 < Back to News Releases
                                            News Releases


  News Channels                             Salinas Valley State Prison Investigating
  COCR News Releases
                                            Death of Incarcerated Person as Homicide
  Inside COCR Employee News Blog

                                            OCTOBER 16, 2023
  Week In Review

                                            SOLEDAD - California Department o f Corrections and Rehabilitation (CDCR) officials are investigating the death of an incarcerated person at Salinas
  Public Meetings & Notices
                                            Valley State Prison (SVSP) as a homicide.
  CCHCS Newroom C3'                         At 3:19 p _m _on Oct _15, three incarcerated people, Alberto T. Valades, Jose L Valle, and Jimmy M . Marti nez, allegedly attacked another incarcerated
                                            person, Cory J. Benton with an inmate-manufactured weapon

  Soclal Media                              Benton sustained multiple stab wounds and li fe-saving measures were performed_ While enroute to an outside medical facility he was pronounced
                                            deceased at 4:25 p.m. No staff or additional incarcerated people were injured.
  Facebook 13'
                                            Suspects have been moved to restricted housing pending investigation into t his case_Officials had limited population movement on the yard to
  Twitter 13'                               facilitate the i nvestigation being conducted by SVSP's Investigative Services Unit. t he Monterrey County District Attorney's Office and the Monterrey
                                            County Coroner. The Office of the Inspector General was notified, and the Monterrey County Coroner w ill determine Benton's official cause of death.
  YouTube 13'
                                            Benton, 40, was received from Sant a Barbara County on Nov_ 30, 2012, to serve 25 years for assault w ith a deadly weapon, assault with force likely to
  lnstagram 13'                             produce great bodily injury w ith enhancements o f street gang act in commission o f violent felony.

                                            Valades, 54, was received from Los Angeles Count y on Dec _10, 1997, to serve life w ith the possibilit y of parole for second-degree robbery as a third
  CDCR Unlocked Podcast 13'
                                            striker.

                                            Valle, 33, was received from Kings County on March 27, 2013, to serve life w ith the possibilit y of parole for first-degree murder w ith enhancement of
                                            intentional discharge o f firearm to cause great bodil y injury

                                            Martinez, 32, was received from Los Angeles County on April. 2, 2014, to serve life with the possibility of parole for first-degree murder and
                                            possession with enhancements of intentional discharge of firearm to cause great bodily injury

                                            SVSP opened In May 1996 in Monterey County. The institution provides long-term housing for 2,687 minimum- and maximum-custody incarcerated
                                            people and employs approximately 1,500 people




                                                                                     Cory J_Benton




                                                                                                                                                                              Exhibit 5
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 25 of 121




                                                                 Jose L Valle




                                                                                     - -- -6




                                                                 Jimmy M. Martinez


                               Contact: CDCR Press Office: ~ ~ g Q Y


                                         <PREVIOUS POST

                                       Incarcerated Person Who Walked                                          CDCR Seeking Incarcerated Man Who
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          Gavin Newsom                                                                Jeff Macomber
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                                                                                                    Exhibit 6
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Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 27 of 121




     !:!2mf , SQQllighll • l.02.3: , ll• 11 • " UPDATE" Inmate Jail Death - 11[15{1013



     **UPDATE** Inmate Jail Death -11/25/2023
     Pu blished on:
                                                                          O n N ovember 25, 2023, the Larimer County Coroner's Office responded to the
     Monday, December 11, 2023 - 12:32pm                                  Larimer County Jail to investigate the death of a 49-year-old male. For
                                                                          information rega rd ing the circumstances and timel ine of events, p lease visit the
     Department:

     =                                                                    La rimer County Sheriff's Office page for their press release:
                                                                          (htt os·/lwNw larj mer gov/soot Iights/2023/JJ/25/drt-activated-i nmate-death)
                                                                          The decedent is identified as Raul ORTIZ Jr. of Fort Collins, Colorado.

              ~rnmrl                                                      A full forensic autopsy was performed on November 27, 2023, at the Larimer
                                                                          County Forensic Sciences Cente r by Dr. J. W hite, D.O.


                                                                          The results of the investigation concluded the fol lowing:

                                                                          Manne r of Death: Accident

                                                                          Cause of Death: M ixed Drug Toxicity Involving Meth amphetamine and Fen tanyl

                                                                          The CIRT (Crit ical Incident Response Team) was activated, and the Loveland
                                                                          Police Department is t he lead investigating agency for this case w ith Fort
                                                                          Collins Police Services provid ing any public information updates.

                                                                          No other information will be released by this office.




     LARIMER COUNTY,                                     OTHER COUNTY SITES                     CITY/TOWN SITES                   CONNECT WITH US 0
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          Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 29 of 121




                                NEWS RELEASE
             DELAWARE DEPARTMENT OF CORRECTION
                  Acting Commissioner Terra Taylor
 Presented by Jason Miller, Office of the Commissioner, Chief of Communications and Community Relations
               245 McKee Road| Dover, DE 19904 | Office: 302.857.5232 | Jason.Miller@delaware.gov




                           DOC announces inmate death
Dover, DE -- The Delaware Department of Correction (DOC) today announced that Richard Gutridge,
a 65-year-old inmate from James T. Vaughn Correctional Center (JTVCC), died on Sunday, January 21.

Gutridge had been housed in the prison infirmary where he was receiving monitoring and care for chronic
medical conditions. On Saturday, January 20, he was transported to Bayhealth Hospital, Kent Campus,
for treatment. His condition continued to deteriorate and he was pronounced dead at Bayhealth Hospital,
Kent Campus at 11:15 p.m. on Sunday, January 21.

Delaware State Police was contacted to initiate an independent death investigation. Gutridge’s body was
turned over to the Division of Forensic Science to determine cause of death.

Gutridge, of Edgemoor, DE, had been in DOC custody since 1985 and was serving a Life sentence for
1st Degree Rape.

If you are a crime victim in need of assistance, you are encouraged to call DOC Victim Services at 302-
857-5440.

                                                     ###




                                                                                                    Exhibit 8
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 30 of 121




                                                                 Exhibit 9
             Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 31 of 121




                                   FULTON COUNTY SHERIFF’S OFFICE
PATRICK “PAT” LABAT                    185 CENTRAL AVENUE, S. W. 9TH FLOOR
FULTON COUNTY SHERIFF                        ATLANTA, GEORGIA 30303                             WWW.FCSOGA.ORG
                                                 (404) 612-5100




 FOR IMMEDIATE RELEASE                                                                September 1, 2023

    Contact Information:
    Natalie L. Ammons, Director of Communications
    FCSO.Communications@fultoncountyga.gov

                    Fulton County Jail Stabbings Lead to One Inmate Death

Atlanta, GA – The Atlanta Police Department is investigating multiple stabbings that occurred at the Fulton
County Jail on August 31, 2023, that resulted in one inmate’s death. A dispute between a group of inmates
led to the stabbings. Dayvion Blake, age 23, and three other inmates were taken to Grady Memorial Hospital,
all with stab wounds. Blake was pronounced dead at 3:29 p.m. One additional inmate was stabbed and
treated at the jail by medical staff.

On January 25, 2023, Blake was arrested for several charges including possession of cocaine and battery by
the Atlanta Police Department and booked at the Fulton County Jail. He was also being held on previous
charges due to his new arrest. Additionally, he had a warrant out of Sumter County for aggravated assault
with no bond.

The Fulton County Medical Examiner’s Office will conduct an autopsy on Blake. The Atlanta Police
Department will release the names and criminal charges of the inmates involved in this incident.

Statement from Sheriff Patrick “Pat” Labat:

“The recent outbreak of violence at the Fulton County Jail is of grave concern but unfortunately is not
surprising considering the long-standing, dangerous overcrowding and the crumbling walls of the facility that
are literally being crafted into makeshift weapons that inmates use to attack each other and staff. We have
had an unfortunate series of deaths this year that range from natural causes, to pre-existing health conditions,
to homicide. To mitigate the violence and overcrowding, the Fulton County Sheriff’s Office is in constant
negotiations with other detention facilities, including facilities out of state, to outsource inmates. In addition,
we have been coordinating with other agencies to secure additional resources to assist with mass shakedowns
and increase the cadence of these shakedowns in order to seize contraband. Since taking office on January 1,
2021, I have been very transparent about the urgent need for a replacement jail that uses smart technology
and other common-sense cost saving measures that will relieve the dangerous overcrowding, improve
security, provide humane detainment and most importantly save lives.”


                                                                                                  Exhibit 10
               Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 32 of 121


ABOUT THE FULTON COUNTY SHERIFF’S OFFICE: The mission of the Fulton County Sheriff’s Office is Service;
through laser-focused efforts to protect the citizens of Fulton County with coordinated law enforcement operations, special
strategic teams, and community outreach methods. The Sheriff’s Office is constitutionally responsible for the security of all
courtrooms, executing arrest warrants, and serving civil papers. In addition, the Sheriff’s Office is responsible for the
administration and operation of the Fulton County Jail.
                                                                ###
               Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 33 of 121
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    +:3:<+ÿ-.ÿ:90ÿ@2B0+:@C3:@-25ÿ321ÿ:90ÿF;-+0=<:-;G+ÿ-H=0ÿ+3@1ÿ@:ÿ+:@>>ÿ1-0+2G:ÿ93B0ÿ:90ÿ;0F-;:+ÿ.;-?
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    +4+:0?+ÿ:93:ÿ>01ÿ:-ÿ9@+ÿ103:9Iÿ
    MN@>-ÿK3+ÿ3ÿ=-?F>@=3:01ÿF0;+-2IÿO<:ÿ90ÿK3+ÿ9@C9>4ÿ@2:0>>@C02:5Mÿ/3;2-=JP+ÿ+@+:0;ÿQ3>>@0ÿR-92+-2
    +3@15ÿMQ0ÿK3+ÿJ2-K2ÿ:-ÿE0ÿ3ÿ93;1ÿK-;J0;IÿQ0ÿK3+ÿ3ÿJ@215ÿ=-?F3++@-23:05ÿ+02+@:@B0ÿF0;+-2IÿÿO<:
    N@>-ÿ+:;<CC>01ÿK@:9ÿ?02:3>ÿ@>>20++ÿ.-;ÿ?-+:ÿ-.ÿ9@+ÿ31<>:ÿ>@.0Iÿ*21ÿ:93:P+ÿJ@21ÿ-.ÿ:90ÿ=;<Sÿ-.ÿ:90
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    *ÿ+:-;4ÿR-92+-2ÿ20B0;ÿ0SF0=:01ÿ:-ÿ021ÿ+-ÿ9-;;@T=3>>4Iÿÿ
    MU90;0P+ÿ2-:ÿ3ÿ134ÿK0ÿ1-2P:ÿ:3>Jÿ3E-<:ÿN@>-ÿ321ÿK93:ÿ93+ÿ93FF0201Iÿ*21ÿK93:ÿK93:ÿ=-<>1ÿ93B0
    E002ÿ1@..0;02:5ÿK93:ÿ+9-<>1ÿ93B0ÿE002ÿ1@..0;02:5ÿK93:ÿN@>-P+ÿ1-K2.3>>+ÿK0;0IÿQ0ÿ@+ÿ3+ÿ?<=9ÿ@2
    -<;ÿ>@B0+ÿ2-Kÿ3+ÿ90ÿK3+ÿK902ÿ90ÿK3+ÿ3>@B0IÿÿO<:ÿ@:P+ÿ>0.:ÿ3ÿ9->05MÿR-92+-2ÿ31101I
    U90ÿ6139-ÿV0F3;:?02:ÿ-.ÿW-;;0=:@-2ÿX6VYWZÿ+3@1ÿ32ÿ@2?3:0ÿE03:ÿ/3;2-=Jÿ:-ÿ103:9ÿ3:ÿ:90ÿ6139-
    7:3:0ÿW-;;0=:@-23>ÿW02:0;ÿX67WWZÿ-2ÿV0=Iÿ[\5ÿ]\]^Iÿ790ÿ+3@1ÿ90ÿ931ÿ.;3=:<;0+ÿ3>>ÿ-B0;ÿ9@+ÿ+J<>>
    321ÿ2-ÿ10.02+@B0ÿK-<21+ÿ-2ÿ9@?I
    R-92+-2ÿ+3@1ÿ@:ÿ93FF0201ÿ@2ÿ9@+ÿ=0>>ÿK90;0ÿ90ÿ>@B01ÿK@:9ÿ-20ÿ-:90;ÿ?32Iÿ
    M6:P+ÿ3ÿ132C0;-<+ÿ02B@;-2?02:5MÿR-92+-2ÿ+3@1I
    /3;2-=JÿK3+ÿ+02:02=01ÿ:-ÿ+0;B0ÿE0:K002ÿ:K-ÿ321ÿ:02ÿ403;+ÿ3:ÿ67WWÿ@2ÿ:90ÿ+<??0;ÿ-.ÿ]\]^
    3.:0;ÿC0::@2Cÿ9@+ÿ.-<;:9ÿV_6ÿ321ÿ?@++@2Cÿ?02:3>ÿ903>:9ÿ=-<;:Iÿ
    Y2=0ÿ@2ÿF;@+-25ÿ/3;2-=JÿK3+ÿC@B02ÿ?01@=3:@-2ÿ.-;ÿ32S@0:4ÿ321ÿE@F->3;ÿ1@+-;10;ÿ@2ÿ:90ÿ0B02@2C+
    @2+:031ÿ-.ÿ:90ÿ?-;2@2C+ÿ̀ÿ̀90ÿK;-:0ÿ@2ÿ?<>:@F>0ÿC;@0B32=0+ÿ321ÿ?0++3C0+ÿ:-ÿ.3?@>4ÿ:93:ÿ:3J@2C
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    >+6=8ÿ+6ÿ3.2ÿ96+5ÿ<+?Dÿ*.2Cÿ./9ÿ/00+;0-29ÿ562K7+;8HCÿ3./3ÿC+;ÿ-+;H9ÿ+0HCÿ=/A2ÿ8;-.ÿ/
    62L;283ÿ3.6+;1.ÿ3.276ÿ+0H702ÿ8C832=DÿM+;ÿ:+;H9ÿA0+:ÿ3./3ÿ7>ÿC+;ÿ./9ÿ62L;28329ÿ/ÿ./69ÿ-+5Cÿ+>
    3.2ÿ6;H28ÿ/09ÿ621;H/37+08ÿ>+6ÿ3./3ÿ>/-7H73CDÿM+;ÿ:+;H9ÿA0+:ÿ3./3ÿC+;ÿ022929ÿ3+ÿ62L;283ÿ3./3
    9+-;=203ÿ7>ÿC+;ÿ./9ÿ/--288ÿ3+ÿ3.+82ÿ9+-;=2038DÿN+ÿ70ÿ3./3ÿ:/Cÿ73ÿ:/8ÿ/ÿ<73ÿH7A2ÿ.2ÿ:/8ÿ823ÿ;5
    3+ÿ>/7H4FÿO+.08+0ÿ8/79D
    P/60+-Aÿ1+3ÿ-/;1.3ÿF-.22A701Fÿ.78ÿ=298DÿJ2-/;82ÿ5+88288701ÿ96;18ÿ+6ÿ/H-+.+Hÿ70ÿ3.2ÿ5678+0ÿ78
    /1/7083ÿ3.2ÿ6;H284ÿ-+662-37+0/Hÿ+Q-268ÿ1/K2ÿ.7=ÿ/ÿ978-75H70/6Cÿ+>>2082ÿ/09ÿ8203ÿ.7=ÿ3+ÿ.71.R
    82-;673CÿS-H+82ÿ-;83+9CSDÿ*.2624ÿ.2ÿ85203ÿ/H=+83ÿTUÿ.+;68ÿ/ÿ9/Cÿ:73.ÿ.78ÿ-2HH=/32D
    V0ÿWXYZÿ5;<H7-ÿ70>+6=/37+0ÿ+Q-26ÿ2?5H/7029ÿS-H+82ÿ-;83+9CSÿ3C57-/HHCÿ.+;828ÿ70=/328ÿ:.+[K2
    28-/5294ÿ./K2ÿ8267+;8ÿ978-75H70/6Cÿ.783+6C4ÿ+6ÿ979ÿ8+=23.701ÿ9/0126+;8ÿ70ÿ5678+0Dÿ
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Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 40 of 121
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Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 43 of 121




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            Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 44 of 121
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                     Kansas Bureau of Investigation
Tony Mattivi                                                                                          Kris W. Kobach
  Director                                                                                            Attorney General
  FOR IMMEDIATE RELEASE                                                           Contact: Melissa Underwood
  December 13, 2023                                                                             (785) 296-8283
                                                                                 melissa.underwood@kbi.ks.gov

                   Inmate death at Lansing Correctional Facility ruled homicide

      LANSING, Kan. – The death of an inmate at the Lansing Correctional Facility has been ruled a
      homicide.

      On Saturday, Nov. 25, at around 10:45 p.m., the Kansas Bureau of Investigation (KBI) was notified
      by personnel at the Lansing Correctional facility that 29-year-old Darionce Terrell Charles-Lott had
      died after being found unresponsive in his cell.

      Despite life-saving measures that were attempted at the facility’s clinic, Charles-Lott was
      pronounced deceased.

      Charles-Lott had been serving a 172-month sentence for a conviction in Wyandotte County for one
      count of aggravated battery with intent for bodily harm. He was admitted to Lansing on Nov. 1,
      2011.

      KBI agents responded to the facility to investigate, as is required by state statute. Investigators with
      the Kansas Department of Corrections assisted in the investigation. An autopsy was conducted.
      While the final autopsy report is pending, preliminary autopsy results indicated Charles-Lott’s
      manner of death was homicide, and cause of death was strangulation.

      A male suspect who is incarcerated at the facility has been identified. At this time, the suspect has
      not yet been arrested or charged for this crime.

      The investigation is ongoing. Once it is completed, findings will be presented to the Leavenworth
      County Attorney’s Office for determination of charges.

                                                         ###




                    1620 S.W. Tyler / Topeka, Kansas 66612-1837 / (785) 296-8200 FAX (785) 296-0915   Exhibit 16
                     Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 47 of 121
- TJMESl RJBlJNE ~     f.Paper   Local Events   Celebrations   Obituaries   Public Notices                                                                                                                                                            Contact us   1111 I
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                                    WCDC inmate's death under investigation
                                                                                                   By Christen Gibson Staff Wnter Oct 3, 2023




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                     [Editor's Note: This article has been updated to correct the name ofthe facility.}                                                                                          Coronavirus               -c.,t ·, r
                                                                                                                                                                                                 in Kentucky              ~re,_~,-.,:;,.
                     WILLIAMSBURG - Authorities are investigating the death of a Whitley County Detention Center inmate over the weekend.                                                        6EllliEIA1'ST        ,     '/<i'~).:;.~
                                                                                                                                                                                                 UPDATES HERE                    ~.;_.

                                                                                                                                                                                                            NEWSPAPER ADS
                     On Saturday, 40-year-old Kyle Barton of Corbin was found unconscious with injuries that would result in his death.                                                          Corbin Tourism and Convention Comm,sslon
                                                                                                                                                                                                 Board of Commissioners
                                                                                                                                                                                                 ELDER LAW GUIDANCE
                     Around 10 a.m. Saturday morning, the Barton family received a phone call from the Whitley County Detention Center advising                                                  ~e~W!.;E61~~Ll"RANcE (2)

                     that around 8 a.m. their son was found unconscious with injuries and taken to Baptist Health Corbin.                                                                        ?~:~~~i~EJ;r~tbGm>e~coccbGv
                                                                                                                                                                                                 CLINIC OF KENTUCKY
                                                                                                                                                                                                 SEKRI

                     According to Lori Barton, Kyle's stepmother, the Corbin hospital sent Kyle to a Lexington hospital to hopefully receive surgery on
                     his brain after what doctors told the family was blunt forced head trauma that could have happened intentionally or by accident.                                           Trending Recipes

                     Doctors could not perform any surgery due to Kyle being pronounced "brain dead," according to Mrs. Barton. Kyle Barton was
                     pronounced dead at 2:30 a.m. Sunday morning.
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                                                                                                                                                                                                                            ChkkenCordon Bleu
                                                                                                                                                                                                                            Casserole




                                                                                                                                                                                                                            Mary's Blue Ribbon
                     Fayette County Coroner Gary Ginn confirmed Kyle Barton's body showed signs of blunt force head trauma but couldn't release                                                                             Banana Bread
                     any more details on the severity.

                                                                                                                                                                                                                            Lemon-Berry Ricotta
                     The Barton family wants answers due to their speculation the incident was not by accident due to the injuries described to them,                                                                       Pound Cake
                     according to Mrs. Barton.


                     Kyle Barton had been lodged at the Whitley County Detention Center for 17 days, according to Mrs. Barton.


                     "Kyle really struggled \vith drugs," she said. "We were glad he was in jail and felt as if he would be safe in there. Unfortunately, we
                     were wrong."


                     Lori Barton stated that they looked to Jailer Jason Wilson for some answers about what the cameras might have shown. Mrs.
                     Barton reported Jailer Wilson responded in an apology \vith news that the camera in that area was not working at the time that
                                                                                                                                                                                                The b est walking shoes suitable
                     the incident occurred.                                                                                                                                                     for men to wear a ll day

                     Wilson commented on the cameras that failed to capture the footage in the cell the incident occurred.
                                                                                                                                                                                                Obituaries
                     "The camera was not and is not working at this time," Jailer Wilson said. "The camera has been out for approximately two weeks.                                            BARTON, Phoebe
                     We had contacted our camera company. We actually put a camera in for temporary use but the IP (internet protocol) address or                                               Gr
                     something messed up on it and caused issues and had not been fixed yet."
                                                                                                                                                                                                DIZNEY, Lettie
                     According to Mrs. Barton, her stepson was being held in cell nwnber 151 with 17 other men.


                     "I am just hoping that out of 17 men that was in there, someone will tell what happened," she said.
                                                                                                                                                                                                DUFF, Fay
                     "The other inmat es in the cell heard it," Wilson told The Times-Tribune.


                     Lieutenant Wayne Bird of the Whitley County Sheriff's Office is leading the investigation and was conducting interviews on
                     Monday.
                                                                                                                                                                                                MORGAN, Wilda
                                                                                                                                                                                                                                              Exhibit
                                                                                                                                                                                                                                              I       17
    Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 48 of 121
                                                                                                                                            SETSER, Kenneth
    "'This is an ongoing death investigation and it's too early to tell anything," Lt. Bird said.


    Mrs. Barton and the family have speculations on what could have happened but said she's tmsting the local authorities to do
                                                                                                                                            CARR, Darlene
<   their job and give their family some closure.                                                                                                                                       >
                                                                                                                                                                                        NEXT

    "We do not feel like this was a fall from his feet coming out of the bathrooms like we were originally told, especially from all the    ROBINSON, Cheryl
    damage on the left side of his head," Lori Barton said. "We just want real answers from the investigation."


    The Whitley County Sheriff's Department, Fayette County Coroner's office and Whitley County Detention Center is working
    together in the ongoing case.


    Wilson reflected on what happened when Kyle Barton was found.                                                                           Most Popular

    "M soon as \Ve learn of the incident, they called for the ambulance and took him to Corbin and shortly thereafter he was flown to        ~Articles     ~       0      Ca
    UK [Hospital}," Wilson said.
                                                                                                                                             • Knox Cou nty Board of Education
                                                                                                                                               approves one-t ime payment to full-
    Mrs. Barton said she wants her son's story to be heard so someone might speak up wit h the missing piece of this tragic puzzle.            time employees

                                                                                                                                             • Former McCreary county assistant
                                                                                                                                               principal indicted for sex cri mes
    "'We want this information out there," she said. "This is a small t0\-\111. Maybe someone will know the smallest thing that can help
                                                                                                                                             • Long-time Corbin tourism director
    us get answers on what happened to Kyle."                                                                                                  resigning to head Cumberland Falls
                                                                                                                                               State Resort Park

                                                                                                                                             • Whitley county school board honors
    Jailer Wilson wants answers.
                                                                                                                                               educator; students
                                                                                                                                             • Truckers, Tra11elers Urged To Plan for
    "'We are working with the sheriff's department in any way we can. We want to know everything just the same as the family,"                 Extra Traffic Before and After April 8
                                                                                                                                               SOiar Eclipse
    Wilson said. "We want to help as much as we can and our thoughts and prayers are with the family."
                                                                                                                                             • Redhounds remain r ed-hot. capture
                                                                                                                                               seventh win in a row
    The family invites the public to Kyle's visitation from 12 noon to 2 p.m. Wednesday at the O'Neil-Lawson Funeral Home in                 • Whitley County's Jaetyn Brackett signs
    Corbin with his funeral scheduled to start at 2 p.m. on Wednesday.                                                                         with University of the Cumberlands




                                                                         ,,.,,.
                                                                                                                                             • Whitley county's Megan Gibbs signs
                                                                                                                                               with University of the cumberlands
                                                                                                                                             • Corbin coach Cody Philpot captures
                                                               Suppmt local journalism.                                                        win No. 200

                                                                                                                                             • Whitley County's Deserae Haynes
                                                                                                                                               signs with Union Commonwealth
                                                                                                                                               University


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    Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 49 of 121


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         or rhe right of rhe people p eaceab!J· ro assemble, and to petition the Gowrnment for a redress ofgrievances.

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                                                 inmate dies in           Filed 04/19/24
                                                                forklift accident                Page 50 of 121
                                                                                  | News | theadvocate.com



   https://www.theadvocate.com/baton_rouge/news/angola-inmate-dies-in-forklift-accident/article_88aa84a4-abf4-11ed-
   bb68-f37c9cc49e2d.html

   Angola inmate dies in forklift accident, state investigating
   BY MATT BRUCE | Staff writer
   Feb 13, 2023




   Vehicles enter at the main security gate at the Louisiana State Penitentiary, the Angola Prison, the largest high-
   security prison in the country in Angola, La.
   Judi Bottoni




   Authorities are investigating the death of an inmate who fell off a forklift
   Monday morning at the Louisiana State Penitentiary at Angola.

   Department of Corrections officials identified the prisoner as Clifton
   Bell, a 64-year old man who had been incarcerated at Angola.


                                                                                                                            Exhibit 18
https://www.theadvocate.com/baton_rouge/news/angola-inmate-dies-in-forklift-accident/article_88aa84a4-abf4-11ed-bb68-f37c9cc49e2d.html   1/2
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                                                 inmate dies in           Filed 04/19/24
                                                                forklift accident                Page 51 of 121
                                                                                  | News | theadvocate.com


   The state agency will jointly investigate Bell's fatal fall with the West
   Feliciana Sheriff's Office, DOC spokesman Ken Pastorick said in a news
   release Monday.




   According to the release, Bell was driving the forklift when he fell off and
   died. An autopsy is scheduled to determine his cause of death.

   Pastorick indicated Bell was serving a 90-year prison sentence
   stemming from 1980's convictions out of Jefferson and St. Tammany
   parishes for armed robbery, kidnapping, simple robbery and simple
   escape.




https://www.theadvocate.com/baton_rouge/news/angola-inmate-dies-in-forklift-accident/article_88aa84a4-abf4-11ed-bb68-f37c9cc49e2d.html   2/2
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                                                              Exhibit 19
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 News Room

  ) News Releases




                     State Prison Inmate Homicide Under Investigation

                     May 28, 2023

                     (JESSUP, MD) - Maryland State Police investigators are continuing an investigation into the death
                     of a state prison inmate that has been ruled a homicide.

                     The inmate is identified as Nicholas Joseph Delfosse, 27. Delfosse was a state prison inmate
                     serving time for burglary at the Jessup Correctional Institution in Jessup, Md. Delfosse was
                     pronounced deceased at the scene by Anne Arundel County Emergency Medical Service
                     personnel.

                     A suspect, also an inmate, has been identified. He is being held in another location within the
                     Division of Correction. He has not been charged at this time and is not being identified until
                     charges are placed.

                     On May 27, 2023, the Maryland State Police Homicide Unit was contacted by investigators from
                     the Department of Public Safety and Correctional Services Internal Investigative Unit (DPSCS IIU)
                     about an inmate death. Investigators told State Police Delfosse was found in his cell with multiple
                     injuries shortly before 4:30 p.m. yesterday.

                     Crime scene technicians from the Maryland State Police Forensic Sciences Division responded to
                     the scene and processed the cell for evidence. The preliminary investigation indicates Delfosse
                     and the suspect were cell mates when the incident occurred. A specific cause of death is not known
                     at this time. Investigators are awaiting autopsy results to determine cause and manner of death.

                     State Police Homicide Unit investigators continue the investigation with assistance provided by the
                     DPSCS IIU. Upon completion, the investigation will be presented to the Anne Arundel County
                     State's Attorney's Office for review regarding charges.

                                                                     ###



                     CONTACT:     Office of Media Communications, msp.media@maryland.gov




                                                                                               Exhibit 20
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                                                             Exhibit 23
      Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 58 of 121




                         FOR IMMEDIATE RELEASE
Date:          September 8, 2023
Contact:       Office of Communications
Phone:         (601) 359-5701, 359-5608
E-mail:        MDOCOfficeofCommunications@mdoc.state.ms.us


           Update on Inmate Killed at Parchman
JACKSON, MS (Sep 8) – Mississippi Department of Corrections has identified the victim killed
at Parchman Prison early Thursday morning as 23-year-old Raymond Coffey of Lafayette
County. MDOC initially withheld Coffey’s identity out of respect for the family and to ensure
next of kin was notified.

“Based on the information we have thus far, the killing appears to be gang related,” said
Commissioner Burl Cain. “We’ve been working diligently over the last three years to eradicate
gangs from our prisons. We are making significant progress as we have reduced gang
membership by hundreds and their numbers continue to dwindle. MDOC will continue to use
every available tool at our disposal to clamp down on illicit and gang activity inside of
Mississippi’s prisons.”

Coffey had been incarcerated twice over four years on felony burglary charges.

MDOC Corrections Investigative Division Director, Steven Chambers, a former FBI investigator
for 20 years is conducting an investigation. At the conclusion of MDOC’s investigation, CID
investigators will turn their evidence over to the Sunflower County District Attorney for criminal
prosecution.

The assailants and others involved in the incident are in lockdown and under investigation.

                                         Media note:
               https://www.facebook.com/MississippiDepartmentOfCorrections/
                               https://twitter.com/MS_MDOC




                                                                                         Exhibit 24
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STATE OF NEVADA
Department of Corrections

Acting PIO W.C. “Bill” Quenga: wquenga@doc.nv.gov


Press Release
For Immediate Release:
February 5, 2024

The Nevada Department of Corrections (NDOC) reports that on Feb. 4, 2024,
Offender Andrew Jacobson, 14241, was pronounced dead at Northern Nevada
Correctional Center. Jacobson, 76, was two life sentences for first-degree murder
and kidnapping. He came to the NDOC on June 1, 1992, from Washoe County. An
autopsy was requested per NRS 209.3815. Next-of-kin was notified.




                                    Andrew Jacobson


                                                                         Exhibit 28
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   aWbÿ]WXcdeÿmehhWdicekYsÿtYdcscipÿeoiZcnWÿelÿOYZÿmhodWZqÿucZÿnWYi`ÿcZÿvWckwÿihWYiWnÿYZÿYÿgeZZcvsWÿ̀ejcdcnWUÿexcdcYsZÿZYcnq
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                                    Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 75 of 121
~          Phone Scam Targets Families of Incarcerated Persons
~          The North Carolina Department of Adult Correction has learned of a phone scam targeting family members of incarcerated 1ndJV1duals                  ~


An offie1al website of the State of North Carolina                                                                                                                                                                NC GOV    AGENCIES          Select Language




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Home > News > Press Releases




   TUESDAY, JANUARY 16, 2024




    Investigation Underway after Offender
    Death at Bertie Correctional
   An offender at Bertie Correctional Inst itution has died from injuries
   sustained as the result of an alleged assau lt by another offender on Jan.
   12, 2024 and law enforcement is investigating.




                                                RALEIGH                                                                                                                CONTACT

                                                                                                                                                                       John M.R. Bull
                                                An offender at Bertie Correctional Institution has died from inj uries sustained as the result of an alleged
                                                assault by another offender on Jan . 12, 2024.                                                                         m i Q.b.n..b.ull@..d..a.c..nc..g~

                                                Rasheen Younger (#0577765) died Sunday morning, Jan. 14, at an outside medical facility w ith fami ly at
                                                his side. The Windsor Police Department is investigating. The Department of Adult Correction is fully
                                                cooperating with the investigation and has launched an internal investigation.


                                                                                     Around 4:45 p.m. on Jan. 12, correctional officers discovered
                                                                                     Younger unconscious. The prison's medical team performed
                                                                                     advanced lifesaving measures and EMS continued lifesaving
                                                                                     measures as he was transported to a local hospital. Preliminary
                                                                                     information indicates that Younger was struck by another offender
                                                                                     and fell backwards, hitting his head.


                                                                                     Younger, 44, was serving a 76-year sentence for a 1997 fi rst-degree
                                                                                     rape conviction in Pitt County. His proj ected release date was May
                                                2, 2065. He was housed in medium custody at the prison in Windsor.



                                                Related Topics:

                                                 • Adult Correction
                                                 • fii>2n>




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                             Case 1:22-cv-00475-BAH Document 37-3 Filed  04/19/24 Page 76 of 121
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CORRECTIONS               1.)                                                                                                   NEWS & ANALYSIS v          PRODUCT GUIDE v                 CAREERS & TRAINING v                         OFF-DUTY v   GRANTS v     DEEP DIVE v




TRENDING TOPICS I   SOLAR ECLIPSE AFFECTING VISITATION          I   LEGAL CASE REVIEW        I   PRISONER TRANSPORT



                                                                                                          Safe custody transitions
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                                                                                                                                                                                Click Here




                                                      Report finds 184 law                             Case law : Jail staff liability                  Fonner jail deputy takes
                                                      en forcement, con ections                        for inmate suicide                               stand in trial over death of
                                                      officer s die by suicide per                                                                      inmate
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                                   ln·Custody Death



                                   Officials: North Dakota murderer kills
                                   himself in prison
                                   Chad Isaak, 48, was serving life sentences for killing four
                                   people at a North Dakota business in what authorities say
                                   was one of t he state's most gruesome crimes
                                   August 01, 202212:19 PM                                                                                                                                        CORRECTIONS                          1.)
                                                                                                                                                                                                       NEWSLETTERS

                                                                                                                                                                                               What every CO needs to know. Anytime
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                                   By JAMES MacPHERSON
                                   Associated Press                                                                                                                                    MOST POPULAR
                                   BISMARCK, N.D. - A man who was serving life sentences for killing.fu.u.r.R.eQ.ple at a North Dakota
                                   ~ in what authorities say was one of the state's most gruesome crimes has killed himself in

                                   prison, authorities said.

                                   The Nonh Dakota Highway Patrol said a trooper was called to the state prison in Bismarck at around
                                   5:45 p.m. on Sunday ·regarding a resident who had caused self-harm.· The trooper was told that
                                   Chad lsaak,48, had been taken by ambulance to a Bismarck hospital, where he was pronounced
                                                                                                                                                                                               Photos: 150 people anuted for using
                                   dead at 6:24 p.m.                                                                                                                                   1       drones to transport contraband into Ga.
                                                                                                                                                                                               prisons

                                   Authorities did not immediately give a cause of death.
                                                                                                                                                                                               24 wellness tips for corrections officers in
                                                                                                                                                                                       2       2024
                                   Prison spokeswoman Kayli Richards said Monday that she didn't know if Isaak had been considered
                                   a suicide risk or whether he was held under any special conditions at the prison.
                                                                                                                                                                                               Calif. governor resists calls to close more
                                                                                                                                                                                       3       prisons amid budget and safety concerns

                                                                        8 most effective de-escalation techniques
                                                                                                                                                                                               N.Y. inmates ftle suit to watch the solar
                                                                        eon.ct=l                                                           Click Here                                  4       eclipse after state orders prisons locked
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                                                                                                                                                                                               Colo. inmate fills cell with smoke after
                                   ·All of that is under investigation,· she said.                                                                                                     5       tampering with batteries from tablet

                                   Learn more: 4 innovative approaches to inmate suicide pHHI1.lkm

                                   Isaak was serving four life sentences without the possibility of parole ~ p ril 2019 killings of
                                   RJR Maintenance and Management co-owner Robert Fakler, 52; and employees Adam Fuehrer, 42;                                                          WHAT TO WATCH
                                   Bill Cobb, 50; and Lois Cobb, 45. The Cobbs were married. No motive was given at the trial.
                                                                                                                                                                                       Corrfflions Training
                                                                                                                                                                                       How not to fall prey to inmate
                                   The four were shot and stabbed inside the property management company's building in Mandan.                                                         con games




                                                                                                                                                                                                                                          D
                                                                                                                                                                                       Corrfflion.al Management
                                                                                                                                                                                       Identifying, classifying and
                                                                                                                                                                                       segregating special
                                                                                                                                                                                       management inmates


                                   Isaak, a chiropractor and Navy veteran, lived at a Washburn property that the company managed, but
                                                                                                                                                                                       CorrfflionsPolici♦S
                                   authorities never established a motive for the killings.                                                                                            Women in jail: How to secure



                                                                                                                                                                                                                                                       Exhibit 34
                                                                                                                                                                                       successful outcomes
                                   Isaak was appealing his convictions.

                                   Jesse Walstad, one of Isaak's trial attorneys, said Monday that he didn't know any details about his                                                Corrections Training
                                                                                                                                                                                       Wh~t rlf">f'~ it mP~n whPn ~n                     ft
Case     1:22-cv-00475-BAH
  former client's death.   Document 37-3 Filed 04/19/24 Page 77 of 121                                                         inmate won't make eye
                                                                                                                               contact?

  ·we concluded our representation after trial and sentencing,· he said . ·we are very sympathetic to
  his fami ly, of course. We have no comment beyond that:
                                                                                                                               COrrectio~l Hn lthcare
                                                                                                                               Medical emergencies in
                                                                                                                               corrections: Never assume an
                                                                                                                               inmate is faking
                                                                                                                                                              0

  During the trial, defense attorneys argued that investigators didn't seriously consider other possible
  suspects, including people who had either been evicted, sued or fired by RJR.

  Prosecutors showed security camera footage from numerous businesses that authorities said
  tracked Isaak's white pickup t ruck from Mandan to Washburn on the day of the killings, along with
  footage from a week earlier that they said indicated the killer had planned the attack in advance.

  Forensic experts testified that fibers on the clothing of the slain workers matched fibers taken from
  Isaak's clothing, and that DNA evidence found in Isaak's truck was linked to Fakler and possibly Lois
  Cobb.

  Prosecutors presented the case as a puzzle in which all of the pieces pointed to Isaak, including a
  knife found in his washing machine and gun parts found in his freezer.




  At Isaak's senten c i n g ~ Jamie Binstock, a daughter of Robert Fakler, told the court that
  Isaak is a ·heinous individual· who should spend the rest of his life in prison and experience a
  ·1ifetime of suffering· and nightmares.

  · 1do not want your life to end. Your family does not need to suffer the same way we did; Binstock
  told Isaak in court.

  In a statement to The Associated Press on Monday, Binstock said, ·My thoughts and prayers are
  with his family:


    correctional Suicide     In-custody Death




  RECOMMENDED FOR YOU
                                                                                                                          COIIHCTION$ )




                                                                                                                          CORRECTIONS
                                                                                                                          PRODUCTS



   officer                                                   drugs and contraband in inmate legal mail, without opening
                                                             ;,




   corrections




   Colo. inmate fills cell with smoke after tampering with   Prisoner transport: Tech and training to improve safety
   batteries from tablet                                     (eBook)
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 78 of 121




                                         Exhibit 35
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                                                               Exhibit 36
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                                                              Exhibit 39
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  SUSSEX COUNTY, Va. - - Officials said an inmat e has d ied a fter he was attacked in his cell inside Sussex I State Prison Wednesday morning.

  Virginia Department of Corrections spokesperson Lisa Kinney said 45- year- old Pakostan Algier Gary suffered life- threatening injuries during ·on
  apparent offender-on-offender fight' just after 10:30 a .m .

  The suspect is Gary's cellmot e, Frank Elmo Reid.

  In 2015 - Richmond police say Reid abduct ed two city lo w firm workers at gunpoint, shooting one in the head before t urning the gun on police.

  Everyone survived the incident.

  Reid was indicted on 10 charges in January of 2016.

  There were 1,130 inmates at Sussex I State Prison a s of July 2019, according to online data from the Virginia Deportment of Correct ions.

  Sussex l is located in rural Sussex County and is just over an hour away from the City of Richmond.

  This is a d eveloping story, so anyone with more information can submit a OBWS t i ~.

  BY WEB STAFF
  WTVR- 6




  PRINCE GEORGE COUNTY                                                                                                       CONTACTUS .:.
  VIRGIN I A



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    GH;4:0;-ÿ50+ÿ<=>ÿ<?<@ÿAÿ==-=Bÿ8CÿDEF
   IJKLM

   NOPQROSTÿVWÿXVWYZ[ÿ\ÿ]^^_`abcdÿ̀be`bdba^fagÿ^hbÿijkflcÿ_iÿmnja^boÿNn`pdTÿqh_ÿrfbrÿqhflbÿfasj`sb`j^brÿi_`ÿjÿe`bt^`fjlÿ_ubadbÿj^ÿZ_n^hb`a
   vbgf_ajlÿwjflÿfaÿxj`shÿ_iÿyzyyTÿjllbgbÿ^hj^ÿ^hbÿs_kejacÿs_a^`js^brÿ^_ÿe`_{frbÿkbrfsjlÿsj`bÿ^_ÿfakj^bdÿijflbrÿ^_ÿhbleÿNn`pd|
   Rj^bT̀ÿqhflbÿgnj`rdÿqb`bÿjllbgbrlcÿ}bj^fagÿhfkTÿ_abÿ_iÿ^hbÿan`dbdÿfdÿa_qÿjssndbrÿ_iÿdnggbd^fagÿNn`pd~ÿ}_rcÿ}bÿfabs^brÿqf^hÿfadnlfaTÿ^_ÿkjpbÿ^hb
   rbj^hÿjeebj`ÿaj^n`jl|
   aÿr_snkba^dÿ_}^jfabrÿ}cÿYbqdTÿNbsplbcÿj^^_`abcÿZ^behbaÿYbqTÿsf{flÿ̀fgh^dÿj^^_`abcÿNbajkfaÿP`nkeÿjarÿj^^_`abcdÿxj^^ÿj`kjaÿjarÿO`fs
   `brb`fspd_aÿ_iÿj`kjaÿRjqÿf̀kÿfaÿ]^lja^jTÿj|Tÿjllbgbÿ`fkbPj`bÿxbrfsjlÿd^juÿfga_`brÿe`_^_s_ldÿi_`ÿfakj^bdÿ^_ÿgb^ÿfkkbrfj^bÿ_n^dfrbÿsj`b|
   n`^hb`k_`bTÿ^hbÿj^^_`abcdÿsljfkÿ^hj^ÿkbrfsjlÿd^juÿjll_qbrÿZ_n^hb`aÿvbgf_ajlÿwjflÿd^juÿ^_ÿndbÿe`f{j^bTÿnak_af^_`brÿkbrfsjlÿ̀__kdÿ^_ÿj}ndb
   fakj^bdÿqf^h_n^ÿibj`ÿ_iÿ}bfagÿ̀bs_`rbrTÿjarÿ^hj^ÿ`fkbPj`bÿkbrfsjlÿd^juÿijldfifbrÿkbrfsjlÿ̀bs_`rdÿ^_ÿs_{b`ÿneÿfakj^bd~ÿfan`fbdÿj^ÿ^hbÿhjarÿ_i
   Z_n^hb`aÿvbgf_ajlÿwjflÿd^ju|
     ¦£ÿ§ÿ̈©ÿÿ£ÿ¤ÿ¥ÿªÿÿ¨¢«ÿ¬¢ÿÿ­
                                                                                                                            Exhibit 48
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   +,-ÿ/00-1/23456ÿ7-1/78351ÿ973:-;/7-ÿ<-83=/0ÿ>5=?@ÿ2,-ÿA/7-52ÿ=4:A/5Bÿ4Cÿ2,-ÿ54DEF/5G7HA2ÿ973:-;/7-ÿ<-83=/0ÿ4CÿI-62ÿJ371353/@ÿD-7-ÿ6,/7-8
   -K=0H63L-0BÿD32,ÿMNO-D6ÿ45ÿI-85-68/B@ÿP-F7H/7BÿQR@ÿQSQT?
    klÿnopoqorsÿrtÿurvvwxyorsqÿzs{ÿ|w}z~ooyzyorsÿzvwwqÿyrÿzÿÿ oorsÿosÿ|ÿxopoÿvo}yqÿzqoy
   973:-;/7-ÿ<-83=/0ÿ62/UÿA74L38-8ÿ=/7-ÿ24ÿV4H2,-75ÿW-1345/0ÿX/30ÿ35:/2-6@ÿ35=0H8351ÿYH7G6?
                                                                               d^JbW+>Vb<bO+




   YH7G6@ÿZ[@ÿD/6ÿ/77-62-8ÿ45ÿ=,/71-6ÿ4CÿD/5245ÿ-58/51-7:-52ÿ/58ÿ4F627H=2351ÿ/5ÿ4U3=-7ÿ45ÿP-F?ÿQ\@ÿQSQQ@ÿ/]-7ÿ2-00351ÿ4U3=-76ÿD32,ÿY-=G0-B
   9403=-ÿ^-A/72:-52ÿ2,/2ÿ,-ÿ,/8ÿC37-8ÿ/ÿ1H5ÿ/2ÿ,36ÿ2-5/52_6ÿ=/2?
    nz}ywvÿqzqÿxr zosyÿq}oswqÿo}yÿrsÿtzy}wvqÿ{wzy}ÿzyÿry}wvsÿ|worszÿzo
   Y-=G0-Bÿ/22475-BÿV2-A,-5ÿO-D@ÿ=3L30ÿ731,26ÿ/22475-BÿY-5/̀:35ÿ;7H:Aÿ/58ÿ/22475-B6ÿ</22ÿa/7:/5ÿ/58ÿb73=ÿP7-8-73=G645ÿ4Cÿa/7:/5ÿc/DÿP37:ÿ35
   d20/52/@ÿe/?@ÿ/00-1-ÿ973:-;/7-ÿ:-83=/0ÿ62/Uÿ542-8ÿD,-5ÿYH7G6ÿD/6ÿ/8:322-8ÿ2,/2ÿ,-ÿ,/8ÿ/ÿA7-E-K362351ÿ=45832345ÿ4Cÿ,BA-72-56345@ÿ47ÿ,31,ÿF0448
   A7-66H7-?
   d2ÿMÿ/?:?ÿ45ÿ</7=,ÿR@ÿ/22475-B6ÿ2408ÿMNO-D6@ÿYH7G6ÿD/6ÿ2/G-5ÿ24ÿ2,-ÿ:-83=/0ÿ8-A/72:-52ÿD,30-ÿ=4:A0/35351ÿ4Cÿ=,-62ÿA/35ÿ/58ÿ/ÿ973:-ÿ;/7-
   5H76-ÿ7-=478-8ÿ,36ÿF0448ÿA7-66H7-ÿ7-/8351ÿ/2ÿRfSgRRSÿ::a1ÿ/58ÿ/8:35362-7-8ÿ;0454835-@ÿ/ÿF0448ÿA7-66H7-ÿ:-83=35-?
    ry}wvÿrtÿzsywÿvqÿzqqÿrpÿqyoxwÿz~ryÿ}wvÿqrsqÿ{wzy}ÿ{vosÿyrsÿ}z
   OH76-ÿ+/7/ÿ^/L36ÿ=,-=G-8ÿYH7G6_ÿF0448ÿA7-66H7-ÿ/2ÿ[hZSÿ/?:?@ÿ/22475-B6ÿ/00-1-8@ÿ/58ÿ7-=478-8ÿ32ÿ/2ÿQQSg\Sÿ::a1@ÿ/ÿ:-83=/0ÿ-:-71-5=B@ÿFH2
   C/30-8ÿ24ÿ=/00ÿNRRÿ47ÿ:/G-ÿ/5ÿ-U472ÿ24ÿA74L38-ÿ-:-71-5=Bÿ=/7-ÿC47ÿYH7G6?
                                                                               d^JbW+>Vb<bO+




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     5--ÿ
           8-8ÿ,¡¢-0A£?ÿ¥¦§ÿ̈©©ªÿ¦«¢ÿ¬¦¢ÿ¦¬¬ª§­ÿ§ÿ®¡¥¥¢ÿ̄°¡§­±
      ÿÿ                                ³´µ¶ÿ̧¶¹º»ÿÁ¾ÿÂ                                                                      ³´µ¶ÿ̧¶¹º» ¼½¾¿´À                     ²
      >562-/8ÿ4CÿA74L38351ÿ:-83=/0³´             ÿ,-µ0¶Aÿ̧@ÿ¶2¹,º-»ÿÿ1Á¾HÿÂ/786ÿ/00-1-80BÿF-=/:-ÿ/132/2-8@ÿ/==478351ÿ24ÿ84=H:-526@ÿ/58ÿ478¼-½¾7-¿8´Àÿ,3:ÿ24ÿiXH62ÿ632ÿ84D5?j
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   ,--./0123ÿ5661718ÿ.0ÿ918013852ÿ-:5-ÿ;</=3ÿ5--1>?-18ÿ-.ÿ1@A-ÿ:A3ÿ?.8BÿCDE.8BÿA0ÿ50ÿ1F./-ÿ-.ÿ71-ÿ>18AG56ÿ:16?Bÿ508ÿ><6-A?61ÿ7<5/83ÿ-:10ÿH15-
   508ÿ31/A.<362ÿA0I</18ÿ:A>JÿK:10Bÿ5-ÿLMNMOÿ5J>JBÿ-:12ÿ566171862ÿ:508G<F18ÿ;</=3ÿ508ÿ6AP18ÿ:A>ÿQ/.>ÿ-:1ÿQ6../J
                                                                                      ,d`WVKTiWZW\K




   K:1ÿ8.G<>10-3ÿ5661718ÿ-:5-ÿ;</=3BÿR:.ÿ:58ÿ5ÿ6AQ1D-:/15-10A07ÿ>18AG56ÿ1>1/710G2BÿR53ÿ-:10ÿH6118A07ÿ?/.Q<3162ÿ53ÿ.FAG1/3ÿQ./G18ÿ:A>ÿ8.R0ÿ-:1
   :566R52ÿ508ÿA0-.ÿST0-1/UA1RÿV..>ÿWBXÿR:AG:ÿ8A8ÿ0.-ÿ:5U1ÿ3</U1A6650G1ÿG5>1/53J
   K:1ÿ8.G<>10-3ÿ566171ÿE/A>1C5/1ÿ0</31ÿY5265ÿZ5205/8Bÿ/13?.0818ÿ-.ÿ7<5/83[ÿG566ÿQ./ÿ5ÿ0</31ÿA03A81ÿ-:1ÿ/..>Jÿ
   K:1ÿ5--./0123ÿ566171ÿ7<5/83ÿ?1??1/ÿ3?/5218ÿ508ÿSH/<-5662XÿH15-ÿ;</=3ÿR:A61ÿ\</31ÿZ5205/8ÿR53ÿ?/1310-ÿ508ÿ-:5-ÿ3:1ÿ8A8ÿ0.-ÿA0-1/U101ÿ./ÿ-/2ÿ-.
   ?/.UA81ÿ5??/.?/A5-1ÿ>18AG56ÿG5/1ÿQ./ÿ;</=3J
   ]<5/83ÿ566171862ÿ>.U18ÿ;</=3BÿR:.ÿR53ÿH6118A07ÿ508ÿ3-A66ÿ:5UA07ÿ5ÿ>18AG56ÿ1>1/710G2ÿRA-:ÿ:A3ÿH6..8ÿ?/133</1BÿA0-.ÿ-:1ÿS,ÿE.8BXÿR:1/1B
   5--./0123ÿ566171Bÿ;</=3ÿR53ÿ<05H61ÿ-.ÿ3-508J
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   K:1ÿ8.G<>10-3ÿ566171ÿ-:5-BÿA03-158ÿ.QÿA>>18A5-162ÿ?/.UA8A07ÿ>18AG56ÿG5/1ÿ-.ÿ;</=3Bÿ\</31ÿZ5205/8ÿ3<7713-18ÿ-.ÿ-:1ÿ.FAG1/3ÿ-:5-ÿS3:1ÿG.<68
   58>A0A3-1/ÿ50ÿ.U1/8.31ÿ.QÿA03<6A0ÿ-.ÿ^<50-1_ÿ-.ÿG.U1/ÿ<?ÿ:A3ÿG5<31ÿ.Qÿ815-:JX
                                                                                      ,d`WVKTiWZW\K




   ;</=3[ÿQ5>A62ÿ5--./0123ÿ566171ÿ;</=3ÿ8A18ÿA0ÿ-:1ÿ,ÿE.8J
   K:1ÿ913-ÿ̀A/7A0A5ÿZ18AG56ÿW@5>A01/[3ÿaFAG1ÿ65-1/ÿ/<618ÿ;</=3ÿ8A18ÿ.Qÿ05-</56ÿG5<313ÿ/165-18ÿ-.ÿ:15/-ÿ8A31531BÿH5318ÿ.0ÿ85-5ÿ?/.UA818ÿ-.ÿbc\1R3
   H2ÿ9`dCVÿ.FAGA563ÿ<081/ÿ5ÿe/118.>ÿ.QÿT0Q./>5-A.0ÿ,G-ÿ/1f<13-J
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                                            ¨©ª«3 ÿ­«®¯°ÿ±²ÿ³                                                                A07ªÿ«-ÿ5­«=®1¯0°ÿ-.ÿ5ÿG166BXÿ-:1ÿZ5/G:ÿLBÿgMggBÿ?/133ÿ/161531
   3-5-18JÿSi-5FÿA>>18A5-162ÿ?/.UA818ÿ1>1/710G2ÿ>18AG56ÿ533A3-50G1ÿH<-ÿR1/1ÿ<05H61ÿ-.ÿ/1UAU1ÿ:A>JX
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   +,-ÿ/00123-45ÿ/66-7-8ÿ13ÿ9-83-58/4ÿ0,/0ÿ:;25-ÿ</43/28ÿ=/65-64ÿ0168ÿ>3?-50>7/0125ÿ0,/0ÿ@;2A5ÿB/5ÿC1DE/0>?-ÿ/38ÿ2-5>50>37ÿ>3ÿ0,-ÿ>30-2?>-B
   211DFÿ/38ÿ5,-ÿ0168ÿ>3?-50>7/0125ÿ5,-ÿ,/8ÿ310ÿ5--3ÿ/3413-ÿ502>A-ÿ@;2A5ÿ>3ÿ0,-ÿ>30-2?>-Bÿ211DG
    bcdefgÿijÿklcmnopÿqlrstÿtcgÿnuogÿvcmnÿwucmxoÿcnÿyilnuormÿzoxeimcfÿ{cef|ÿc}orÿxlcr~tÿfoc~ÿxlefngÿniÿwimtercwg
   H>7,0ÿ1=ÿ0,-ÿ7;/285ÿI</2AÿJ1682-3FÿKLFÿM124ÿN348-2FÿOLFÿP13/0,/3ÿ9/60-25FÿKQFÿP/C1Eÿ@110,-FÿOQFÿR5,6-4ÿ+13-4FÿOKFÿN0-?-3ÿ:>C,16/5ÿ9>DD-2FÿOSF
   /38ÿR382-BÿT6-5,D/3FÿOUFÿB-2-ÿC,/27-8ÿ>3ÿVGNGÿW>502>C0ÿM1;20ÿ>3ÿ2-6/0>13ÿ01ÿ@;2A5Xÿ8-/0,G
   N1D-ÿB-2-ÿC,/27-8ÿB>0,ÿY21?>8>37ÿ=/65-ÿ50/0-D-305ÿ01ÿ>3?-50>7/0>37ÿ1Z>C-25G
   T6-5,D/3ÿ/38ÿ9>DD-2ÿ,/?-ÿY6-/8-8ÿ7;>604G
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   Rÿ=12D-2ÿ6>-;0-3/30FÿM,/8ÿ[-50-2FÿKKFÿ>5ÿ/651ÿC,/27-8ÿ>3ÿ=-8-2/6ÿC1;20ÿ>3ÿ2-6/0>13ÿ01ÿ@;2A5Xÿ8-/0,G


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                            Deaths in Detention: Improper,                                                                                                  WMlkn'COMM<-....,._I?
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                            deaths of sick prisoners                                                                                                        wlth•pi'.-p.sya..,tl2 •nd ddw


                                      Gina Barton                                                                                                                                          (    LEARN MORE               )
                                      Milwaukee Journal Sentinel                                                                                                                               ~~

                                                                                                                                                        IMPORTANT SAFETY IN FORMATIOH
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                            Jeremy Cunningham hugs his son, Jaden Cunningham Jeremy Cunningham s mother, Cynthia Telford, hoped that wtnle her                                h elp finding critically
                            son was in custody he c:ouKJ get treatment fordruo and alcohol addiction . Credit family photo Family Photo Milwaukee                             missing woman
                            Journal Sentinel                                                                                                                                  NEWS



                                                                                                                                                                              Man gets 30 years for killing
                            This story was originally published Feb. 4, 2014.                                                                                                 Mi lwauk ee bask e tball coach
                                                                                                                                                                              NEWS
                            In the middle of the night, locked in the Milwaukee Secure Detention Facility,
                            Jeremy Cunningham started to shake. The \iolent tremors woke Ishmeil
                                                                                                                                                                              H ere is the real cost o f full
                            \iVashington, who was sleeping in the bunk below his.                                                                                             mouth dent al implants in
                                                                                                                                                                              2023
                            Keith Bowman, lying on a mattress on the floor, saw the convulsions, too.                                                                         Su99est·m• I iR9nsortd Links

                            The two men also heard Cunningham gasping for air, gurgling and wheezing.

                            Here's what happened ne:d, the two men later told investigators:                                                                We're always work ing to improve
                                                                                                                                                            your experience. Let us know what
                                                                                                                                                            you thin k .
                            \Vashington pressed the emergency button to rail a guard.




                            "What is your medical emergency?" Department of Corrections Sgt. J ay Suttle
                            asked over the intercom.

                            \Vashington told Suttle his cellmate was having a seizure.

                            Instead of sending help, Suttle told \i\Tashington to go back to bed.



                                                                                                                                                                                                               Exhibit 49
                            The next morning, Cunningham was dead.
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           Cunningham, 34, was one of 10 people O\'er a five-year period to die in the custody
           of law enforcement throughout Milwaukee County after their medical or
           psychiatric conditions were improperly monitored or left untreated, a "Milwaukee
           Journal Sentinel investigation found.

           The 10 deaths~ among 18 in custody between 2008 and 2012 ~ show that
           :Milwaukee-area detention facilities run by the city, county and state all fall short
           when it comes to dealing with medical emergencies, sometimes with fatal
           consequences.

             HI( H <.(HOOi   PO~T                            ,/


             Be their biggest fan. { ,                                        $1 tor 6 months
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           The city lockup, where prisoners may be held for up to three days, doesn't employ
           medical practitioners. At the county jail and House of Correction, inadequate
           staffing levels and substandard care have persisted for more than a decade despite
           a judge's order to solve the problems. And at the state-run Milwaukee Secure
           Detention Facility, corrections officers went years without rules for what to do
           when inmates reported medical emergencies over the intercom.

           Jailers have a constitutional obligation to protect prisoners, which includes
           addressing medical and mental health conditions, said Ronald Shansky, a
           physician who has spent more than 12 years conducting court-ordered monitoring
           of conditions at the Milwaukee County Jail and House of Correction.




                                       ----------
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           "The inmate is completely dependent," he said. "Unless the system creates the
           opportunity for the medical tests to be done, the medications to be provided, it's
           not going to happen."'


           Rules Called For Monitoring
           Wanted for parole ,iolations, Cunningham hlrned himself in on June 21, 2011,
           knowing he would likely be arrested because he had skipped several appointments
           with his parole officer. His mother, Cynthia Telford, ga\'e him a ride to the parole
           office. From there, he was sent to the Milwaukee Secure Detention Facility, a
           holding site for people who have violated probation or parole. It is run by the
           \Visconsin Department of Corrections.

           Telford hoped that while her son was in custody, he could get treatment for the
           drug and alcohol addiction that had plagued him since he was a teenager.

           ''He was crying in the car, sa)ing, 'Ylom, I'm so sorry,"' she recalled.

           VVhen Cunningham arrived at the secure detention facility, he told nurses he had
           used both alcohol and narcotics within the past eight hours, records show.              ~@;?
           Cunningham also suffered from a heart condition known as Wolff-Parkinson                with code CINCOl0
           White syndrome - something that should have been in his Department of
           Corrections medical file, considering that it was diagnosed while he served prison
           time for his underlying felony gun charge just a couple of years earlier.                    ~
                                                                                                     MAY 4, 2024
                                                                                                   MONTROSE HARBOR CHICAGO
Case 1:22-cv-00475-BAH
             convu1s1ons/ se1zures occur...Document 37-3 Filed 04/19/24 Page 116 of 121
               But no one checked on Cunningham, even after his cellmate pressed the
               emergency button, according to records released by the Department of Corrections
               in response to an open recordsrequest.

               The records, which focus on the actions ofjailers, do not say whether Cunningham
               was evaluated by a doctor or nurse earlier in the night. The records also do not say
               whether nurses or jailers were aware of Cunningham's heart condition, which can
               cause irregular heartbeat.

               Department of Corrections spokeswoman Joy Staab said medical records from past
               prison stays, which are stored at Dodge Correctional Institute in Waupun,
               generally are transferred to the secure detention facility within 24 to 48 hours .




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               Cunningham died within 20 hours of arriving at the institution.

               Citing medical confidentiality laws, the department would not release
               Cunningham's medical records or documents that would show whether nurses
               checked his vital signs between his arrival at the secure detention facility and his
               death.

               Staab would not say whether the checks were done.

               Christopher Poulos, an assistant medical examiner who resigned in 2012 amid
               controversy in another custody death case, ruled Cunningham's death an
               accidental cocaine overdose, and the case was closed.

               But an autopsy sho\\'ed that all the drugs in Cunningham's system were "residual
               leftovers, almost in trace amounts," said \-Verner Spitz, a pathologist who reviewed
               it at the request of the Journal Sentinel.

               Alcohol withdravval is a much more likely cause, said Spitz, co-author of
               "Medicolegal Investigation of Death," considered the "medical examiners' bible."




               There is a possibility Cunningham could have been saved if he would have gotten
               to the hospital quickly, Spitz said.

               Cunningham's mother still can't comprehend what happened.

               "I brought my son to his death, thinking they would help him, and they didn't. I
               have to live with that for the rest of my life," she said. "I can't wrap my brain
               around it that there's no accountability."

               Dementia And Re peated Falls
               In the Milwaukee County Jail, 75-year-old Valentin Vazquez-Torres fell or was
               found on the floor eight times in less than four months, one of them following a
               confrontation with a guard. After the last fall, jail staff decided to restrain Vazquez-
               Torres, who suffered from dementia stemming from Parkinson's disease, for his
               own safety. They didn't know it, but by then, he already had sustained the brain
               injury that would later kill him.
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           After his arrest in late 2009, Vazquez-Torres was housed in the infirmary at Dodge
           Correctional Institution in Waupun for more than fiye months, according to court
           records.

           He was transferred to the jail in February 2010. Between then and May 23, 2010,
           he fell five times.

           Then, on May 26, Vazquez-Torres and correctional officer Theodore D. Robinson
           got into a tug-of-war with a linen cart. At first, Robinson pulled on the cart as
           Vazquez-Torres tried to drag it into his cell. \.Vhen the prisoner made a fist, the
           officer backed off and the prisoner brought the cart into the cell, according to
           Robinson's report.

           "'After Vazquez-Torres was in his cell, I went to the cell to retrie\'e the container but
           Vazquez-Torres grabbed it and wouldn't let go, so I began backing out of the cell
           with the container,·· the officer's report says. "As I was backing out of the cell, I
           briefly looked behind me so I wouldn't trip over the chair Vazquez-Torres had put
           by the door and when I turned back to face Vazquez-Torres, he was la;ing on the
           floor moaning as ifhe was in pain."




           No one questioned Robinson's account, records show, and his behavior was not the
           subject of an internal affairs investigation, he confirmed in a brief interview with
           the Journal Sentinel.

           Medical staff at the jail thought the prisoner was fine, but an X-ray revealed he had
           a broken hip, so he was hospitalized for surgery.

           Vazquez-Torres, on parole for a homicide in Puerto Rico and awaiting trial on
           charges of first-degree child se~-ual assault and kidnapping, was back in the jail
           infirmary within 10 days of his operation, records show.

           His first day there, June S, 2010, a corrections officer found him on the floor.
           Because of his mental condition and the fact that he was not fluent in English,
           Vazquez-Torres could not explain what had happened. Again, medical staffers
           concluded he was OK Two days later, he fell again. This time, he hit his head on
           the wall. Officials put him back in his bunk, using soft restraints to keep him there.




           The next morning, Vazquez-Torres was scheduled to appear in court, where
           prosecutors planned to dismiss the case because his dementia rendered him
           unable to understand the charges or assist in his defense. Before the hearing, a
           nurse checked Vazquez-Torres' vital signs. Instead of sending him to court, she
           called an ambulance.

           Doctors found a subdural hematoma, a serious injury that occurred when his head
           struck the wall the day before. On June 10, his family removed him from life
           support, and Vazquez-Torres died.

           ''The question it raises is: \Vhy do you have these people in prison in the first
           place?" asked Ronald H. Aday, author of "Aging Prisoners: Crisis in American
           Corrections."

           ''He needed to be in a more sheltered type of environment," Aday said o{Vazquez-
           Torres. "What he needed to be in is a dementia unit somewhere."

           His case could have been an opportunity to improve training or to change policies
           to better protect people suffering from dementia in the future, considering that
           there will be more of them in custody as baby boomers age, according to Aday, a
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 118 of 121




           ''Some of them have done things - they desen'e to be there," he said. "But we still
           have to provide health care for them and keep them safe, because that's the law,
           too. There's a mandate to provide a safe environment."

           The sheriffs office conducted an investigation and concluded Vazquez-Torres'
           death "does not appear to be criminal in nature."

           After the medical examiner ruled the death an accident, Detective Todd A.
           Rosenstein ended his investigation. He sent his reports to an investigator in the
           district attorney's office "for review."

           No charges were issued, and the prosecutor did not write a letter to Milwaukee
           County Sheriff David A. Clarke, Jr. explaining that decision, according to Deputy
           District Attorney James J . Martin.

           Clarke's spokeswoman, Fran McLaughlin, said officials at the Sheriffs Department
           do not eYaluate medical decision-making as part of their death im·estigations.

           The state Department of Corrections, via the office of the state jail inspector, looks
           into ewry death at the jail and House of Correction, McLaughlin said. She did not
           provide a copy of the inspection completed after Vazquez-Torres' death.


           Chief Proposes New Procedures
           Of the 10 people who died after their medical or psychiatric conditions were
           improperly monitored or left untreated, Vazquez-Torres and four others were held
           under the jurisdiction of the Milwaukee County sheriffs office. Another
           person, James PerfY., died on the floor of the count):jfil! as Milwaukee police
           attempted to transfer him to the sheriffs custody.

           Perry, an epileptic, died sL"X hours after suffering a seizure in the Milwaukee police
           lockup on Sept. 13, 2010. Police brought Perry to Aurora Sinai Medical Center.
           Doctors and nurses gave him medicine and told police to bring him back to the
           station even though he could not walk or sit up on his own. Officers disagreed with
           the medical staff, but a lieutenant said they had no choice but to comply.

           After returning to the lockup, officers held Perry down for 15 minutes while they
           searched for papenvork, put a spit hood oYer his head and left him in a cell for
           more than an hour. They then escorted him to the count)· jail. His death was ruled
           a heart attack, and no one was disciplined.

           The sheriffs office didn't do an investigation, saying Peny was never in their
           custody.

           In response to a civil suit filed by Perry's family, attorneys for the sheriffs office
           said nurses at the jail did everything they were supposed to do, e\·aluating Perry's
           condition and calling for help because he was too sick to be taken to a cell,
           documents say.

           :Milwaukee Police Chief Edward Flynn, as a result of a Journal Sentinel
           investigation into Perry's death, proposed new procedures regarding medical care
           for prisoners. Under the new rules, if officers disagree with a doctor's decision to
           discharge a prisoner, a supervisor is required to go to the hospital and discuss the
           situation with medical staff. If the disagreement persists, higher ranking police
           officials join the conversation.

           Also under the new rules, officers no longer bring sick prisoners back to the city
           lockup after a hospital \isit, since the city facility is not required by state law to
           have medical personnel on staff. Instead, they go directly to the county jail, which
           employs doctors and nurses.

           But medical staffing shortages and lack of supervision for inmate health care have
           plagued the jail for years.

           Medical Request System 'Broken'
           In 2001, ~lilwaukee Count)· settled a lawsuit \Vith inmates who alleged that
           overcrowding and poor health care in the county j ail violated their civil rights. As a
           result, the jail and House of Correction were placed under court supervision with
           the goal of complying with national standards.

           More than a decade later, it hasn't happened.

           In May, after years of bickering between Clarke and the Count): Board, Milwaukee
           County Circuit Judge William Brash III ordered the county to enter into !!!!
           emergen91_Sjl9. million contract with Armor Correctional Health Services. The
           agency has been given one year to try to fi.'-:: long-term problems with virtually all
           areas of medical care and mental health care at the two facilities, as well as staffing
           shortages and poor record keeping.

           An August report from Shansky, the court-appointed monitor for the facilities, said
           the system for inmates to request medical assistance was "by and large broken."
           Inmates who wanted to see a doctor were s upposed to fill out a slip and drop it in a
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           clinics. The prisoners who did get there tended to have their teeth pulled rather
           than fixed.

           ~urses performed exams that should have been done by doctors. Shansky's review
           also found numerous problems with managing chronic health problems. For
           example, an inmate with epilepsy ,v·ent without monitoring for more than three
           months. He was finally seen by a medical practitioner after he had a seizure in
           custody.

           Health care providers at the jail and House of Correction did not have access to
           medical records from other facilities - a problem that came to the county's
           attention almost 15 years ago after attorney Paul Schilling died in the jail after
           being transferred from Dane County without his medical records or prescription
           medication.

           ln his report, Shansk.1' noted that Armor already had filled many key positions that
           had been ,·acant for months or years, including medical director and chief
           psychiatrist. The county finally seems to be on the right track, Shansk")' wrote, but
           still has "a long way to go."

           'Wade Daley, the health services administrator hired by Armor to oversee the two
           facilities, would not answer questions about whether conditions have improved in
           the months since Shanslqrs report was issued. A representative from the Miami-
           based public relations firm E,·erett Clay Associates, which represents Armor, also
           did not answer questions.

           In a high-profile case that was settled last year, Armor - which has contracts at
           jails and prisons in at least five other states - paid $800, 000 to the family of a
           dead Florida inmate whose family claimed its employees missed the signs of a fatal
           stroke.

           Appearance Of Bias
           Both the sheriffs office and the Police Department im·estigate their own employees
           when inmates die. That can pose a conflict of interest or create an appearance of
           bias in favor of the officers, experts said.

           "There's no outside oversight of many police departments around the country,"
           said Lindsay M. Hayes, a project director at the nonprofit National Center on
           Institutions and Alternatives. "If there's a death in police custody, there is nobody
           sa);ng, 'We need to come in and investigate.'"

           Some departments, which Hayes considers ''very proactive," ask an outside agency
           to review custody deaths. At the state Department of Corrections, that's standard
           procedure, according to Staab.

           In Cunningham's case, officials at the secure detention facility called in the
           :Milwaukee police. But the Corrections Department also did its own review, and
           then deemed Cunningham's cellmate a liar because he didn't use the exact same
           words with police as he did with corrections officials.

           Further, the Milwaukee police did not question Suttle, the sergeant who answered
           the emergency button, according to police reports. Only the Corrections
           Department did.

           In his written reports, Suttle did not mention the exchange ,vith Washington over
           the intercom. When internal investigators asked him about it, Suttle said
           \1/ashington gave him no reason to summon help.

           "One of the inmates in the cell called and said that something was wrong with his
           cellie. He said that his cellmate was snoring loud," Suttle told the investigators. "I
           said, 'He's snoring?' He said, 'Yeah, he's been snoring for a while.' I asked ifhe had
           woken him up. He said that he had been snoring for a while. Something to that
           effect."

           He added that inmates at the Secure Detention Facility press the button for myriad
           reasons that have nothing to do with medical emergencies.

           ''To ask what time it is," he said. "To ask when the lights can be turned off. To ask if
           they are going to court the next day. To ask if they can get water. Every once in a
           while to say that something is wrong."

           \Nashington, meanwhile, was questioned by both police and corrections. First, he
           spoke with police, telling them about Cunningham's seizure and Suttle's failure to
           send help, records say. By the time Suttle told \-Vashington to go back to bed,
           Cunningham had stopped shaking "but continued to make a gurgling noise," which
           Washington thought was snoring, he told Milwaukee police detective Shannon
           Lewandmvski.

           After talking with Lewandowski, \.\Tashington was placed in "the hole," a solitary
           cell used to punish disruptive prisoners, and left there for two or three days, he
           told the Journal Sentinel.

           "That really messed evety!hing up. It was terrible," recalled Washington, who has
           since been released from custody and lives in Milwaukee. "That's somewhere you
           don't want to be, especially in circumstances like that: Being in a room with a man
           that died, then being in a room by yourself where you've got nothing to do but
           think about it."

           After \.\Tashington was released from solitary, corrections officials questioned him,
           he said.

           "They were tr)ing to make it seem like I was lying about what I told the
           (Milwaukee police) detectives," Washington said.
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           an)thing. He was gasping for air. I was looking for the right words to use. I don't
           know the difference bet,,,een gasping and wheezing. I am sorry.''

           Based on that, Miller concluded Washington had changed his story - despite the
           fact that Bowman, the third cellmate, backed him up.

           "\<Vashington is not a credible person and his statements involving the entire
           incident should be viewed as such," Miller concluded.

           He deemed the personnel investigation ''inconclusive.''

           Miller could not be reached directly and did not respond to a telephone message
           left with his mother. Suttle, who was not disciplined, did not respond to a certified
           letter sent to his home. He retired in July 2012, according to the Corrections
           Department.


           Policy On Emergency Button
           At the time of Cunningham's death, the Department of Corrections did not have a
           policy regarding what to do when a prisoner pressed the emergency button,
           according to the district attorney's internal memo.

           "That's a problem," said Hayes, who helps jail and prison administrators train staff
           and develop policies for preventing inmate deaths. "In most jails, inmates are
           instructed not to push those buttons unless there is a reason to do so. If an inmate
           calls on the button and says my cellmate is having a seizure, there should be a
           policy about what to do about that. They should go and respond to the emergency
           call button. Or they could simply make a call to the medical staff and say, 'There's a
           seizure, please investigate."'

           After Cunningham's death, Donna Goelz, supervisor of the health sen,;ces unit,
           told the district attorney's office nurses would begin screening arriving prisoners
           with breathalyzers. In addition, she planned to post notices on the cell doors of
           inmates who needed extra medical attention, she said.

           Department of Corrections officials said the breathalyzers are currently in use, but
           the plan for cell door postings was not implemented.

           Staff at the detention facility also planned to institute a policy on how to properly
           respond to inmates who pressed the emergency button, Security Director Steven
           Johnson told the district attorney's office.

           Asked for a copy of the new policy, corrections spokeswoman Staab provided a
           memo Johnson issued to his security staff six weeks after Cunningham's death.

           "While many times inmates use the intercom buttons for non-emergencies ,ve
           must answer each one like it is an emergency," Johnson wrote. "Vlhen it does
           appear there may be an emergency situation, remember time is critical."

           According to the one-page memo, an officer must go to the cell every time an
           inmate presses the button. The officer then evaluates whether to call a health care
           worker or an emergency response team. The memo goes on to say that the initial
           officer should stay with the inmate until additional help arrives. Lastly, it reminds
           officers of the importance of documentation.

           ~at responding to a medical crisis is a clear violation of civil rights, according to
           Fred Cohen, a retired law professor who has served as a federal monitor in
           prisoner civil rights cases.

           ''They're helpless," he said of sick prisoners. "They can't get their own medical care.
           They can't fend for themselves. You're their guardian. You have to protect them
           from others and from themselves and provide medical care."

                                   Gina Banon ts an im•estigattrn reporter who covered crimtnaljustict1 isJurufor tlw
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               Deaths in Detention
               In the aftermath of in-custody deaths, authorities rely on each other□s conclusions D even
               when those conctusiOns are flawed □ ensuring no one is held accountable when prisoners die.

                     Part 1: Unanswered i:iuestions surround deaths in detentiOn in Mit'.vaukee Co1.mw,

                     Part 2: State's law on accountabili!Y.~ unused

                     Part 3: Medical monitorioo falls short
Case 1:22-cv-00475-BAH Document 37-3 Filed 04/19/24 Page 121 of 121




                                                               Exhibit 50
